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                                      #:23902




                                      Station /
Date/Time           Activity                      Agent Name                    Comments
                                      Facility
06/16/2018
             ORR Placement Received     RGV                    Children's Village Shelter
   1006
06/16/2018
                 Welfare Check          RGV
   1153
06/16/2018
                 Welfare Check          RGV
   1248
06/16/2018
               UAC Video Shown          RGV                    know what to expect
   1248
06/16/2018
              Served meal(Accepted)     RGV                    Hot Meal - fed
   1248
06/16/2018
                 Welfare Check          RGV
   1319
06/16/2018
                 Welfare Check          RGV
   1404
06/16/2018
                 Welfare Check          RGV
   1458
06/16/2018
                 Welfare Check          RGV
   1557
06/16/2018
                 Welfare Check          RGV
   1658
06/16/2018
              Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
               UAC Video Shown          RGV
   1659
06/16/2018
                 Welfare Check          RGV
   1753
06/16/2018
                 Telephone Used         RGV
   1815
06/16/2018
                 Welfare Check          RGV
   1904
06/16/2018
                 Welfare Check          RGV
   2052
06/16/2018
                 Welfare Check          RGV
   2247
06/17/2018
                 Welfare Check          RGV
   0028
06/17/2018
                 Welfare Check          RGV
   0100
06/17/2018
                 Welfare Check          RGV
   0200
06/17/2018
                 Welfare Check          RGV
   0302


KEVIN R                                                                    Printed:      8/2/18
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Event:
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0730
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0730
06/17/2018
                Perm Book Out          RGV
   0743




KEVIN R                                                                  Printed:      8/2/18
DOB:            A-File #:                                                Page 7 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 3 of 250 Page ID
                                     #:23904




Subject Activity Log


ANA P
                                     Gender:                F
                                     DOB:                             37 yoa)
                                     Nationality:                    AS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
                                                     Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/20/2018 1800
Book In Date/Time:  06/22/2018 0123
Book Out Date/Time: 06/24/2018 1106

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




ANA P                                                                        Printed:      7/25/18
DOB:                     A-File #:                                           Page 1 of 5
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 4 of 250 Page ID
                                      #:23905

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/20/2018
                        Arrest                 N/A
   1800
06/20/2018
                       Book In                 MCS
   1955
06/20/2018
             Snacks, Milk, Juice Provided      MCS
   2116
06/20/2018
                   Welfare Check               MCS
   2116
06/20/2018
             Medical Screening Completed       MCS
   2116
06/20/2018
                   Welfare Check               MCS
   2204
06/21/2018
                   Welfare Check               MCS
   0538
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0538
06/21/2018
                   Welfare Check               MCS
   0830
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0830
06/21/2018                                                            ALL SUBJECTS WERE GIVEN SPACE
                        Other                  MCS
   0830                                                               BLACKETS
06/21/2018
                   Welfare Check               MCS
   1831
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1831
06/22/2018
                      In Transit               MCS
   0109
06/22/2018
                      Received                 RGV
   0123
06/22/2018
                   Welfare Check               RGV
   0152
06/22/2018
                   Welfare Check               RGV
   0459
06/22/2018
                   Welfare Check               RGV
   0606
06/22/2018
                   Welfare Check               RGV
   0700
06/22/2018
                   Welfare Check               RGV
   0753



ANA P                                                                             Printed:      7/25/18
DOB:                        A-File #:                                             Page 2 of 5
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 5 of 250 Page ID
                                      #:23906




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/22/2018
                    Welfare Check             RGV
   0800
06/22/2018
                    Welfare Check             RGV
   0803
06/22/2018
                    Welfare Check             RGV
   0815
06/22/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0815
06/22/2018
                    Welfare Check             RGV
   0905
06/22/2018
                    Welfare Check             RGV
   0935
06/22/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0937                Provided
06/22/2018
             Medical Screening Completed      RGV
   0937
06/22/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0937
06/22/2018
                    Welfare Check             RGV
   0937
06/22/2018
                   Shower Provided            RGV
   0937
06/22/2018
                    Welfare Check             RGV
   1004
06/22/2018
                 Processing Complete          RGV
   1023
06/22/2018
                    Welfare Check             RGV
   1103
06/22/2018
                    Welfare Check             RGV
   1110
06/22/2018
                    Welfare Check             RGV
   1222
06/22/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1222
06/22/2018
                    Welfare Check             RGV
   1733
06/22/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1733
06/22/2018
                    Welfare Check             RGV
   1813
06/22/2018
                    Welfare Check             RGV
   1904


ANA P                                                                            Printed:      7/25/18
DOB:                 -File #: 215765591                                          Page 3 of 5
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 6 of 250 Page ID
                                      #:23907




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/23/2018
                   Welfare Check              RGV
   0304
06/23/2018
                   Welfare Check              RGV
   0752
06/23/2018
                   Welfare Check              RGV
   0802
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0802
06/23/2018
                   Welfare Check              RGV
   1000
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2055
06/23/2018
                   Welfare Check              RGV
   2156
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2156


ANA P                                                                            Printed:      7/25/18
DOB:               A-File #:                                                     Page 4 of 5
Event:
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                                      #:23908




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/23/2018
                Welfare Check          RGV
   2246
06/23/2018
                Welfare Check          RGV
   2259
06/23/2018
                Welfare Check          RGV
   2322
06/24/2018
                Welfare Check          RGV
   0007
06/24/2018
                Welfare Check          RGV
   0119
06/24/2018
                Welfare Check          RGV
   0225
06/24/2018
                Welfare Check          RGV
   0309
06/24/2018
                Welfare Check          RGV
   0400
06/24/2018
                Welfare Check          RGV
   0513
06/24/2018
                Welfare Check          RGV
   0719
06/24/2018
                Welfare Check          RGV
   0744
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/24/2018
                Welfare Check          RGV
   0805
06/24/2018
                Welfare Check          RGV
   0901
06/24/2018
                Perm Book Out          RGV
   1106




ANA P                                                                    Printed:      7/25/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 8 of 250 Page ID
                                     #:23909




Subject Activity Log


ANDREA L
                                     Gender:                F
                                     DOB:                         (11 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): ANA       P




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/20/2018 1800
Book In Date/Time:  06/22/2018 0123
Book Out Date/Time: 06/24/2018 1106

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ANDREA                                                                      Printed:      7/25/18
DOB:                     A-File #:                                          Page 1 of 5
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 9 of 250 Page ID
                                      #:23910

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/20/2018
                        Arrest                 N/A
   1800
06/20/2018
                       Book In                 MCS
   1956
06/20/2018
             Snacks, Milk, Juice Provided      MCS
   2116
06/20/2018
                   Welfare Check               MCS
   2116
06/20/2018
             Medical Screening Completed       MCS
   2116
06/20/2018
                   Welfare Check               MCS
   2204
06/21/2018
                   Welfare Check               MCS
   0110
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0110
06/21/2018
                   Welfare Check               MCS
   0830
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0830
06/21/2018                                                            ALL SUBJECTS WERE GIVEN SPACE
                        Other                  MCS
   0830                                                               BLACKETS
06/21/2018
                   Welfare Check               MCS
   1831
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1831
06/22/2018
                      In Transit               MCS
   0109
06/22/2018
                      Received                 RGV
   0123
06/22/2018
                   Welfare Check               RGV
   0152
06/22/2018
                   Welfare Check               RGV
   0459
06/22/2018
                   Welfare Check               RGV
   0606
06/22/2018
                   Welfare Check               RGV
   0700
06/22/2018
                   Welfare Check               RGV
   0753



ANDREA L                                                                          Printed:      7/25/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 10 of 250 Page ID
                                      #:23911




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/22/2018
                    Welfare Check             RGV
   0800
06/22/2018
                    Welfare Check             RGV
   0803
06/22/2018
                    Welfare Check             RGV
   0815
06/22/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0815
06/22/2018
                    Welfare Check             RGV
   0905
06/22/2018
                    Welfare Check             RGV
   0935
06/22/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0937                Provided
06/22/2018
             Medical Screening Completed      RGV
   0937
06/22/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0937
06/22/2018
                    Welfare Check             RGV
   0937
06/22/2018
                   Shower Provided            RGV
   0937
06/22/2018
                    Welfare Check             RGV
   1004
06/22/2018
                 Processing Complete          RGV
   1023
06/22/2018
                    Welfare Check             RGV
   1103
06/22/2018
                    Welfare Check             RGV
   1110
06/22/2018
                    Welfare Check             RGV
   1222
06/22/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1222
06/22/2018
                    Welfare Check             RGV
   1733
06/22/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1733
06/22/2018
                    Welfare Check             RGV
   1813
06/22/2018
                    Welfare Check             RGV
   1904


ANDREA                                                                           Printed:      7/25/18
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Event:
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                                      #:23912




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/23/2018
                   Welfare Check              RGV
   0304
06/23/2018
                   Welfare Check              RGV
   0752
06/23/2018
                   Welfare Check              RGV
   0802
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0802
06/23/2018
                   Welfare Check              RGV
   1000
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2019
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2019
06/23/2018
                   Welfare Check              RGV
   2055


ANDREA L                                                                         Printed:      7/25/18
DOB:                -File #:                                                     Page 4 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 12 of 250 Page ID
                                      #:23913




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/23/2018
                Welfare Check          RGV
   2156
06/23/2018
             Served meal(Accepted)     RGV                    Cold Meal
   2156
06/23/2018
                Welfare Check          RGV
   2246
06/23/2018
                Welfare Check          RGV
   2259
06/23/2018
                Welfare Check          RGV
   2322
06/24/2018
                Welfare Check          RGV
   0007
06/24/2018
                Welfare Check          RGV
   0119
06/24/2018
                Welfare Check          RGV
   0225
06/24/2018
                Welfare Check          RGV
   0309
06/24/2018
                Welfare Check          RGV
   0400
06/24/2018
                Welfare Check          RGV
   0513
06/24/2018
                Welfare Check          RGV
   0719
06/24/2018
                Welfare Check          RGV
   0744
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/24/2018
                Welfare Check          RGV
   0805
06/24/2018
                Welfare Check          RGV
   0901
06/24/2018
                Perm Book Out          RGV
   1106




ANDREA L                                                                  Printed:      7/25/18
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Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 13 of 250 Page ID
                                     #:23914




Subject Activity Log


JEYDI M
                                     Gender:                F
                                     DOB:                         (29 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/05/2018 1650
Book In Date/Time:  06/06/2018 1141
Book Out Date/Time: 06/07/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




JEYDI M                                                                     Printed:      8/12/18
DOB:                     A-File #:                                          Page 1 of 3
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 14 of 250 Page ID
                                      #:23915

                                       Subject Activity Log


                                        Station /
Date/Time           Activity                        Agent Name                   Comments
                                        Facility
06/05/2018
                     Arrest               N/A
   1650
06/05/2018
                    Book In               FTB
   1650
06/05/2018
                 Welfare Check            FTB                    P263
   2112
06/05/2018
              Served meal(Accepted)       FTB                    Cold Meal - P263
   2112
06/05/2018
                 Welfare Check            FTB
   2321
06/05/2018
                 Welfare Check            FTB
   2322
06/05/2018                                                       Hot Meal - Subject served a meal, snack
              Served meal(Accepted)       FTB
   2322                                                          and drink
06/06/2018
                 Welfare Check            FTB
   0339
06/06/2018
                 Welfare Check            FTB
   0732
06/06/2018
               Processing Complete        FTB
   0809
06/06/2018
                 Welfare Check            FTB
   0909
06/06/2018
              Served meal(Accepted)       FTB                    Hot Meal
   0909
06/06/2018
                    In Transit            FTB
   0910
06/06/2018
                    Received              RGV
   1141
06/06/2018
                Shower Provided           RGV
   1142
06/06/2018
             Medical Treatment (OBP)      RGV
   1142
06/06/2018
              Served meal(Accepted)       RGV                    Hot Meal
   1142
06/06/2018
                 Welfare Check            RGV
   1142
06/06/2018
                 Welfare Check            RGV
   1320
06/06/2018
                 Welfare Check            RGV
   1416



JEYDI M                                                                     Printed:      8/12/18
DOB:                      A-File #:                                         Page 2 of 3
Event:
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                                  #:23916
   Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 16 of 250 Page ID
                                     #:23917




Subject Activity Log


ANTHONY R
                                     Gender:                M
                                     DOB:                         (4 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): JEYDI         M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/05/2018 1650
Book In Date/Time:  06/06/2018 1141
Book Out Date/Time: 06/07/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ANTHONY R                                                                   Printed:      8/12/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 17 of 250 Page ID
                                      #:23918

                                       Subject Activity Log


                                        Station /
Date/Time           Activity                        Agent Name                   Comments
                                        Facility
06/05/2018
                     Arrest               N/A
   1650
06/05/2018
                    Book In               FTB
   1650
06/05/2018
                 Welfare Check            FTB                    P263
   2112
06/05/2018
              Served meal(Accepted)       FTB                    Cold Meal - P263
   2112
06/05/2018
                 Welfare Check            FTB
   2321
06/05/2018
                 Welfare Check            FTB
   2322
06/05/2018                                                       Hot Meal - Subject served a meal, snack
              Served meal(Accepted)       FTB
   2322                                                          and drink
06/06/2018
                 Welfare Check            FTB
   0339
06/06/2018
                 Welfare Check            FTB
   0426
06/06/2018                                                       Hot Meal - Subject is asleep and will be fed
              Served meal(Accepted)       FTB
   0426                                                          breakfast in the morning.
06/06/2018
                 Welfare Check            FTB
   0732
06/06/2018
               Processing Complete        FTB
   0810
06/06/2018
                 Welfare Check            FTB
   0909
06/06/2018
              Served meal(Accepted)       FTB                    Hot Meal
   0909
06/06/2018
                    In Transit            FTB
   0910
06/06/2018
                    Received              RGV
   1141
06/06/2018
                Shower Provided           RGV
   1142
06/06/2018
             Medical Treatment (OBP)      RGV
   1142
06/06/2018
              Served meal(Accepted)       RGV                    Hot Meal
   1142
06/06/2018
                 Welfare Check            RGV
   1142



ANTHONY R                                                                   Printed:      8/12/18
DOB:                      A-File #:                                         Page 2 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 18 of 250 Page ID
                                  #:23919
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 19 of 250 Page ID
                                      #:23920




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/07/2018
               Perm Book Out       RGV
   1020




ANTHONY R                                                      Printed:      8/12/18
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Event:
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                                  #:23921
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                                  #:23922
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                                      #:23923




                                            Station /
Date/Time              Activity                         Agent Name                    Comments
                                            Facility
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0019
06/15/2018
                       Received               RGV
   0023
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0024                Provided
06/15/2018
             Medical Screening Completed      RGV
   0024
06/15/2018
                         Other                RGV                    subject will be offered a shower at 0700hrs
   0024
06/15/2018
                    Welfare Check             RGV
   0024
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0024


CINDY A                                                                          Printed:      8/16/18
DOB:                 -File #:                                                    Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 23 of 250 Page ID
                                      #:23924




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008


CINDY A                                                                          Printed:      8/16/18
DOB:               A-File #:                                                     Page 4 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 24 of 250 Page ID
                                  #:23925
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 25 of 250 Page ID
                                      #:23926




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736


CINDY A                                                                   Printed:      8/16/18
DOB:            A-File #:                                                 Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 26 of 250 Page ID
                                      #:23927




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/17/2018
                Welfare Check      RGV
   0822
06/17/2018
                Welfare Check      RGV
   0903
06/17/2018
                Welfare Check      RGV
   1004
06/17/2018
                Welfare Check      RGV
   1105
06/17/2018
               Perm Book Out       RGV
   1142




CINDY A                                                        Printed:      8/16/18
DOB:           A-File #:                                       Page 7 of 7
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 27 of 250 Page ID
                                     #:23928




Subject Activity Log


ALEXIA P
                                     Gender:                F
                                     DOB:
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): CINDY           A




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/14/2018 0030
Book In Date/Time:  06/15/2018 0023
Book Out Date/Time: 06/17/2018 1142

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ALEXIA P                                                                    Printed:      8/16/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 28 of 250 Page ID
                                  #:23929
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 29 of 250 Page ID
                                      #:23930




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0019
06/15/2018
                      Received                RGV
   0023
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0024                Provided
06/15/2018
             Medical Screening Completed      RGV
   0024
06/15/2018
                        Other                 RGV                    subject will be offered a shower at 0700hrs
   0024
06/15/2018
                    Welfare Check             RGV
   0024
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0024


ALEXIA P                                                                         Printed:      8/16/18
DOB:               A-File #:                                                     Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 30 of 250 Page ID
                                      #:23931




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/15/2018
                  Welfare Check            RGV
   0100
06/15/2018
                  Welfare Check            RGV
   0354
06/15/2018
                  Welfare Check            RGV
   0400
06/15/2018
                  Welfare Check            RGV
   0500
06/15/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0700
06/15/2018
                  Welfare Check            RGV
   0712
06/15/2018
                  Welfare Check            RGV
   0800
06/15/2018
                  Welfare Check            RGV
   1038
06/15/2018
                  Welfare Check            RGV
   1147
06/15/2018
                  Welfare Check            RGV
   1207
06/15/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1207
06/15/2018
                  Welfare Check            RGV
   1318
06/15/2018
                  Welfare Check            RGV
   1400
06/15/2018
                  Welfare Check            RGV
   1500
06/15/2018
                  Welfare Check            RGV
   1538
06/15/2018
                  Welfare Check            RGV
   1600
06/15/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1600
06/15/2018
                  Welfare Check            RGV
   1701
06/15/2018
                  Welfare Check            RGV
   1800
06/15/2018
             Rejoined With Family Unit     RGV                    Family visit
   1800
06/15/2018
              Separated from Family        RGV                    Cell - Operationally infeasible.
   1830


ALEXIA P                                                                      Printed:      8/16/18
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Event:
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 31 of 250 Page ID
                                  #:23932
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 32 of 250 Page ID
                                      #:23933




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/16/2018
                UAC Video Shown            RGV                    know what to expect
   1245
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1245
06/16/2018
                  Welfare Check            RGV
   1253
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1253
06/16/2018
                  Welfare Check            RGV
   1319
06/16/2018
                  Welfare Check            RGV
   1404
06/16/2018
                  Welfare Check            RGV
   1458
06/16/2018
                  Welfare Check            RGV
   1557
06/16/2018
                  Welfare Check            RGV
   1658
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904
06/16/2018
                  Welfare Check            RGV
   2052
06/16/2018
                  Welfare Check            RGV
   2247
06/17/2018
                  Welfare Check            RGV
   0028
06/17/2018
                  Welfare Check            RGV
   0100
06/17/2018
                  Welfare Check            RGV
   0200
06/17/2018
                  Welfare Check            RGV
   0302
06/17/2018
                  Welfare Check            RGV
   0400
06/17/2018
                  Welfare Check            RGV
   0405


ALEXIA P                                                                      Printed:      8/16/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 33 of 250 Page ID
                                      #:23934




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Perm Book Out          RGV
   1142




ALEXIA P                                                                 Printed:      8/16/18
DOB:            A-File #:                                                Page 7 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 34 of 250 Page ID
                                  #:23935
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 35 of 250 Page ID
                                  #:23936
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 36 of 250 Page ID
                                      #:23937




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0158
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0200                Provided
06/15/2018
             Medical Screening Completed      RGV
   0200
06/15/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   0200                                                              0700hrs
06/15/2018
                    Welfare Check             RGV
   0200
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0200
06/15/2018
                      Received                RGV
   0200


EDWIN O                                                                          Printed:      8/16/18
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Event:
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008


EDWIN O                                                                          Printed:      8/16/18
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Event:
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                                      #:23939




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/15/2018
                Welfare Check          RGV
   2105
06/15/2018
                Welfare Check          RGV
   2202
06/15/2018
                Welfare Check          RGV
   2300
06/16/2018
                Welfare Check          RGV
   0207
06/16/2018
                Welfare Check          RGV
   0302
06/16/2018
                Welfare Check          RGV
   0403
06/16/2018
                Welfare Check          RGV
   0523
06/16/2018
                Welfare Check          RGV
   0744
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   0744
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1249
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458


EDWIN O                                                                 Printed:      8/16/18
DOB:            A-File #:                                               Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 39 of 250 Page ID
                                      #:23940




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903


EDWIN O                                                                   Printed:      8/16/18
DOB:             -File #:                                                 Page 6 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 40 of 250 Page ID
                                  #:23941
   Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 41 of 250 Page ID
                                     #:23942




Subject Activity Log


EDUARD O
                                     Gender:                M
                                     DOB:                         (3 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): EDWIN                  O




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
                                                    Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/14/2018 0030
Book In Date/Time:  06/15/2018 0200
Book Out Date/Time: 06/17/2018 1330

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




EDUARD O                                                                    Printed:      8/16/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   0030
06/14/2018
                       Book In                 MCS
   0224
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1820
06/14/2018
             Medical Screening Completed       MCS
   1820



EDUARD O                                                                          Printed:      8/16/18
DOB:                        A-File #:                                             Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 43 of 250 Page ID
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0158
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0200                Provided
06/15/2018
             Medical Screening Completed      RGV
   0200
06/15/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   0200                                                              0700hrs
06/15/2018
                    Welfare Check             RGV
   0200
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0200
06/15/2018
                      Received                RGV
   0200


EDUARD O                                                                         Printed:      8/16/18
DOB:               A-File #:                                                     Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 44 of 250 Page ID
                                      #:23945




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/15/2018
                  Welfare Check            RGV
   0354
06/15/2018
                  Welfare Check            RGV
   0400
06/15/2018
                  Welfare Check            RGV
   0500
06/15/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0700
06/15/2018
                  Welfare Check            RGV
   0712
06/15/2018
                  Welfare Check            RGV
   0800
06/15/2018
                  Welfare Check            RGV
   1038
06/15/2018
                  Welfare Check            RGV
   1147
06/15/2018
                  Welfare Check            RGV
   1207
06/15/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1207
06/15/2018
                  Welfare Check            RGV
   1318
06/15/2018
                  Welfare Check            RGV
   1400
06/15/2018
                  Welfare Check            RGV
   1500
06/15/2018
                  Welfare Check            RGV
   1538
06/15/2018
                  Welfare Check            RGV
   1600
06/15/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1600
06/15/2018
                  Welfare Check            RGV
   1701
06/15/2018
                  Welfare Check            RGV
   1800
06/15/2018
             Rejoined With Family Unit     RGV                    Family visit
   1800
06/15/2018
              Separated from Family        RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                  Welfare Check            RGV
   1901


EDUARD O                                                                      Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0748
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914
06/16/2018
                   Welfare Check              RGV
   1153
06/16/2018
                  Shower Provided             RGV
   1200
06/16/2018
                   Welfare Check              RGV
   1245
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   1245
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   1245


EDUARD O                                                                       Printed:      8/16/18
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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/16/2018
                  Welfare Check            RGV
   1253
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1253
06/16/2018
                  Welfare Check            RGV
   1319
06/16/2018
                  Welfare Check            RGV
   1404
06/16/2018
                  Welfare Check            RGV
   1458
06/16/2018
                  Welfare Check            RGV
   1557
06/16/2018
                  Welfare Check            RGV
   1658
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904
06/16/2018
                  Welfare Check            RGV
   2052
06/16/2018
                  Welfare Check            RGV
   2247
06/17/2018
                  Welfare Check            RGV
   0028
06/17/2018
                  Welfare Check            RGV
   0100
06/17/2018
                  Welfare Check            RGV
   0200
06/17/2018
                  Welfare Check            RGV
   0302
06/17/2018
                  Welfare Check            RGV
   0400
06/17/2018
                  Welfare Check            RGV
   0405
06/17/2018
                  Welfare Check            RGV
   0500
06/17/2018
                  Welfare Check            RGV
   0559


EDUARD O                                                                      Printed:      8/16/18
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Subject Activity Log


ELVI M
                                     Gender:                M
                                     DOB:                         (34 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/13/2018 2045
Book In Date/Time:  06/15/2018 1457
Book Out Date/Time: 06/17/2018 1743

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ELVI M                                                                      Printed:      8/16/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   2045
06/14/2018
                       Book In                 MCS
   0004
06/14/2018
                   Welfare Check               MCS
   0554
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0554
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619



ELVI M                                                                            Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1820
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
                      In Transit              MCS                    MFT0010879904
   2047
06/14/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   2106                Provided
06/14/2018
             Medical Screening Completed      RGV
   2106
06/14/2018
                Served meal(Accepted)         RGV                    Cold Meal
   2106
06/14/2018                                                           Subject will shower at 0700 when staff
                        Other                 RGV
   2106                                                              arrives
06/14/2018
                    Welfare Check             RGV
   2106
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2106
06/14/2018
                      Received                RGV
   2106


ELVI M                                                                           Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                Processing Complete           RGV
   0203
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Perm Book Out              RGV
   0731
06/15/2018
                       Book In                RGV
   1457
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008


ELVI M                                                                           Printed:      8/16/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402
06/17/2018
                Welfare Check          RGV
   1504
06/17/2018
                Welfare Check          RGV
   1602
06/17/2018
                Welfare Check          RGV
   1702
06/17/2018
                Welfare Check          RGV
   1704
06/17/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1704
06/17/2018
                Perm Book Out          RGV
   1743




ELVI M                                                                    Printed:      8/16/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   2045
06/14/2018
                       Book In                 MCS
   0005
06/14/2018
                   Welfare Check               MCS
   0555
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0555
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619



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                                     Station /
Date/Time          Activity                      Agent Name                  Comments
                                     Facility
06/14/2018
                 Welfare Check         RGV
   2111
06/14/2018
                 Welfare Check         RGV
   2222
06/14/2018
                 Welfare Check         RGV
   2300
06/15/2018
                 Welfare Check         RGV
   0011
06/15/2018
                 Welfare Check         RGV
   0100
06/15/2018
             FOJC and ORR Notified     RGV                    Transaction ID:
   0214
06/15/2018
                 Welfare Check         RGV
   0354
06/15/2018
                 Welfare Check         RGV
   0400
06/15/2018
                 Welfare Check         RGV
   0500
06/15/2018
               UAC Video Shown         RGV
   0700
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0705
06/15/2018
                 Welfare Check         RGV
   0712
06/15/2018
                 Welfare Check         RGV
   0800
06/15/2018
                 Welfare Check         RGV
   1038
06/15/2018
                 Welfare Check         RGV
   1147
06/15/2018
                 Welfare Check         RGV
   1207
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1207
06/15/2018
                 Welfare Check         RGV
   1318
06/15/2018
                 Welfare Check         RGV
   1400
06/15/2018
                 Welfare Check         RGV
   1500
06/15/2018
                 Welfare Check         RGV
   1538


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                 UAC Video Shown              RGV
   1714
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
                   Telephone Used             RGV
   1902
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                Processing Complete           RGV
   2051
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0749


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
               Shower Provided         RGV
   1200
06/16/2018
                Welfare Check          RGV
   1248
06/16/2018
              UAC Video Shown          RGV                    know what to expect
   1248
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1248
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
              UAC Video Shown          RGV
   1659
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Telephone Used         RGV
   1815
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200


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                                     Station /
Date/Time          Activity                      Agent Name                  Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0730
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0730
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1209
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1209
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402
06/17/2018
                Welfare Check          RGV
   1504
06/17/2018
                Welfare Check          RGV
   1602
06/17/2018
                Welfare Check          RGV
   1702


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   1704
06/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1704
06/17/2018
                   Telephone Used             RGV
   1830
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308
06/18/2018
                   Welfare Check              RGV
   0402
06/18/2018
                   Welfare Check              RGV
   0505
06/18/2018
                   Welfare Check              RGV
   0551
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0700
06/18/2018
                 UAC Video Shown              RGV
   0700
06/18/2018
                   Welfare Check              RGV
   0700
06/18/2018
                   Welfare Check              RGV
   0800
06/18/2018
              Bodily Cleansing Product        RGV
   0823


ENYI M                                                                           Printed:     8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/18/2018
               Dental Hygiene Product         RGV
   0823
06/18/2018
               Clean Clothing Provided        RGV
   0823
06/18/2018
                  Shower Provided             RGV
   0823
06/18/2018
                   Welfare Check              RGV
   0900
06/18/2018
                   Welfare Check              RGV
   1002
06/18/2018                                                           Pending placemnet FOJC submitted
                   UAC72 - Other              RGV
   1026                                                              6/15/18 315 AM
06/18/2018
                   Welfare Check              RGV
   1100
06/18/2018
                   Welfare Check              RGV
   1200
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1200
06/18/2018
                   Welfare Check              RGV
   1300
06/18/2018
                   Welfare Check              RGV
   1403
06/18/2018
                   Welfare Check              RGV
   1530
06/18/2018
              ORR Placement Received          RGV                    Cayuga Centers
   1556
06/18/2018
                   Welfare Check              RGV
   1600
06/18/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/18/2018
                   Welfare Check              RGV
   1700
06/18/2018
                 UAC Video Shown              RGV
   1718
06/18/2018
                   Welfare Check              RGV
   1800
06/18/2018
                   Telephone Used             RGV
   1901
06/18/2018
                   Welfare Check              RGV
   1904
06/18/2018
             Snacks, Milk, Juice Provided     RGV
   2004


ENYI M                                                                           Printed:     8/16/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/18/2018
                Welfare Check          RGV
   2004
06/18/2018
                Welfare Check          RGV
   2105
06/18/2018
                Welfare Check          RGV
   2207
06/18/2018
                Welfare Check          RGV
   2309
06/19/2018
                Welfare Check          RGV
   0007
06/19/2018
                Welfare Check          RGV
   0124
06/19/2018
                Welfare Check          RGV
   0216
06/19/2018
                Welfare Check          RGV
   0340
06/19/2018
                Welfare Check          RGV
   0425
06/19/2018
                Welfare Check          RGV
   0508
06/19/2018
                Welfare Check          RGV
   0609
06/19/2018
                Welfare Check          RGV
   0700
06/19/2018
                Welfare Check          RGV
   0715
06/19/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0715
06/19/2018
                Welfare Check          RGV
   0800
06/19/2018                                                    Minor was shown the Know what to expect
              UAC Video Shown          RGV
   0852                                                       video.
06/19/2018
                Perm Book Out          RGV
   0852




ENYI M                                                                   Printed:      8/16/18
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Subject Activity Log


GREGORIO C
                                     Gender:                M
                                     DOB:                         (33 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/13/2018 1745
Book In Date/Time:  06/18/2018 0409
Book Out Date/Time: 06/18/2018 1312

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




GREGORIO C                                                                  Printed:      8/16/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1745
06/13/2018
                       Book In                 MCS
   2033
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                   Welfare Check               MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                   Welfare Check               MCS
   0243
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0243
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519



GREGORIO C                                                                        Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1619
06/14/2018
             Medical Screening Completed      MCS
   1619
06/14/2018
                    Welfare Check             MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1820
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0305
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0333                Provided


GREGORIO C                                                                       Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
             Medical Screening Completed      RGV
   0333
06/15/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   0333                                                              0700hrs
06/15/2018
                   Welfare Check              RGV
   0333
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0333
06/15/2018
                      Received                RGV
   0333
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1600


GREGORIO C                                                                       Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0744
06/16/2018
               Served meal(Accepted)          RGV                    Cold Meal - fed
   0744
06/16/2018
                   Welfare Check              RGV
   0748
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914
06/16/2018
                   Welfare Check              RGV
   1153
06/16/2018
                  Shower Provided             RGV
   1245
06/16/2018
                   Welfare Check              RGV
   1249


GREGORIO C                                                                     Printed:      8/16/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/17/2018
                Welfare Check          HRL
   0259
06/17/2018
                Welfare Check          HRL
   0330
06/17/2018
                Welfare Check          HRL
   0412
06/17/2018
                Welfare Check          HRL
   0432
06/17/2018
                Welfare Check          HRL
   0438
06/17/2018
                Welfare Check          HRL
   0729
06/17/2018
                Welfare Check          HRL
   1000
06/17/2018
             Served meal(Accepted)     HRL                    Cold Meal
   1000
06/17/2018
                Welfare Check          HRL
   1124
06/17/2018
                Welfare Check          HRL
   1137
06/17/2018
                Welfare Check          HRL
   1221
06/17/2018
                Welfare Check          HRL
   1242
06/17/2018
                Welfare Check          HRL
   1249
06/17/2018
                Welfare Check          HRL
   1300
06/17/2018
               Shower Provided         HRL                    N/A
   1315
06/17/2018
                Welfare Check          HRL
   1315
06/17/2018
                Welfare Check          HRL
   1352
06/17/2018
                Welfare Check          HRL
   1516
06/17/2018
                Welfare Check          HRL
   1603
06/17/2018
                Welfare Check          HRL
   1743
06/17/2018
                Welfare Check          HRL
   1800


GREGORIO C                                                                Printed:      8/16/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/17/2018
                Welfare Check          HRL
   1819
06/17/2018
             Served meal(Accepted)     HRL                    Cold Meal
   1819
06/17/2018
                Welfare Check          HRL
   1915
06/17/2018
              Processing Complete      HRL
   1947
06/17/2018
                Welfare Check          HRL
   1947
06/17/2018
                Welfare Check          HRL
   2021
06/17/2018
                Welfare Check          HRL
   2029
06/17/2018
                Welfare Check          HRL
   2054
06/17/2018
                Welfare Check          HRL
   2202
06/17/2018
             Served meal(Accepted)     HRL                    Cold Meal - sandwich
   2202
06/17/2018
                Welfare Check          HRL
   2255
06/17/2018
             Served meal(Accepted)     HRL                    Hot Meal
   2255
06/17/2018
                Welfare Check          HRL
   2340
06/18/2018
                Welfare Check          HRL
   0234
06/18/2018
                   In Transit          HRL
   0256
06/18/2018
                   Received            RGV
   0409
06/18/2018
                Welfare Check          RGV
   0505
06/18/2018
                Welfare Check          RGV
   0551
06/18/2018
                Welfare Check          RGV
   0700
06/18/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0701
06/18/2018
               Shower Provided         RGV
   0730


GREGORIO C                                                                Printed:      8/16/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/18/2018
                Welfare Check          RGV
   0800
06/18/2018
                Welfare Check          RGV
   0900
06/18/2018
                Welfare Check          RGV
   1002
06/18/2018
                Welfare Check          RGV
   1100
06/18/2018
                Welfare Check          RGV
   1200
06/18/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1223
06/18/2018
                Welfare Check          RGV
   1300
06/18/2018
                Perm Book Out          RGV
   1312




GREGORIO C                                                               Printed:      8/16/18
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Subject Activity Log


CANDELARIA C
                                     Gender:                F
                                     DOB:                           11 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s): GREGORIO C




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/13/2018 1745
Book In Date/Time:  06/18/2018 0409
Book Out Date/Time: 06/18/2018 1312

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




CANDELARIA C                                                                Printed:      8/16/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1745
06/13/2018
                       Book In                 MCS
   2035
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                   Welfare Check               MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                   Welfare Check               MCS
   0053
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0053
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519



CANDELARIA C                                                                      Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1619
06/14/2018
             Medical Screening Completed      MCS
   1619
06/14/2018
                    Welfare Check             MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1820
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                    Welfare Check             MCS
   0223
06/15/2018
                Served meal(Accepted)         MCS                    Cold Meal - SANDWICH JUICE
   0223


CANDELARIA C                                                                     Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/15/2018
                      In Transit              MCS
   0305
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0333                Provided
06/15/2018
             Medical Screening Completed      RGV
   0333
06/15/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   0333                                                              0700hrs
06/15/2018
                    Welfare Check             RGV
   0333
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0333
06/15/2018
                      Received                RGV
   0333
06/15/2018
                    Welfare Check             RGV
   0354
06/15/2018
                    Welfare Check             RGV
   0400
06/15/2018
                    Welfare Check             RGV
   0500
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0700
06/15/2018
                    Welfare Check             RGV
   0712
06/15/2018
                    Welfare Check             RGV
   0800
06/15/2018
                   Shower Provided            RGV
   0843
06/15/2018
                    Welfare Check             RGV
   1038
06/15/2018
                    Welfare Check             RGV
   1147
06/15/2018
                    Welfare Check             RGV
   1207
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1207
06/15/2018
                    Welfare Check             RGV
   1318
06/15/2018
                    Welfare Check             RGV
   1400
06/15/2018
                    Welfare Check             RGV
   1500


CANDELARIA C                                                                    Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                 UAC Video Shown              RGV
   1714
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742


CANDELARIA C                                                                     Printed:      8/16/18
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                                       Station /
Date/Time            Activity                      Agent Name                    Comments
                                       Facility
06/16/2018
                  Welfare Check          RGV
   0749
06/16/2018
                  Welfare Check          RGV
   0914
06/16/2018
                  Welfare Check          RGV
   1153
06/16/2018
                  Welfare Check          RGV
   1248
06/16/2018
                UAC Video Shown          RGV                    know what to expect
   1248
06/16/2018
               Served meal(Accepted)     RGV                    Hot Meal - fed
   1248
06/16/2018
                  Welfare Check          RGV
   1319
06/16/2018
                  Welfare Check          RGV
   1404
06/16/2018
                  Welfare Check          RGV
   1458
06/16/2018
                  Welfare Check          RGV
   1557
06/16/2018
                  Welfare Check          RGV
   1658
06/16/2018
               Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                     In Transit          RGV
   1725
06/16/2018
                     Received            HRL
   1908
06/16/2018
                  Welfare Check          HRL
   1913
06/16/2018
                 Shower Provided         HRL                    N/A
   1938
06/16/2018
               Served meal(Accepted)     HRL                    Hot Meal
   1938
06/16/2018
                  Welfare Check          HRL
   1938
06/16/2018
                  Welfare Check          HRL
   2014
06/16/2018
                  Welfare Check          HRL
   2236
06/16/2018
                  Welfare Check          HRL
   2358


CANDELARIA C                                                                Printed:      8/16/18
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Event:
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
                   Welfare Check              HRL
   0008
06/17/2018
                   Welfare Check              HRL
   0154
06/17/2018
               Served meal(Accepted)          HRL                    Hot Meal
   0154
06/17/2018
                   Welfare Check              HRL
   0259
06/17/2018
                   Welfare Check              HRL
   0330
06/17/2018
                   Welfare Check              HRL
   0412
06/17/2018
                   Welfare Check              HRL
   0432
06/17/2018
                   Welfare Check              HRL
   0438
06/17/2018
                   Welfare Check              HRL
   0729
06/17/2018
             Snacks, Milk, Juice Provided     HRL
   1000
06/17/2018
               Served meal(Accepted)          HRL                    Hot Meal
   1000
06/17/2018
                   Welfare Check              HRL
   1000
06/17/2018
                   Welfare Check              HRL
   1124
06/17/2018
                   Welfare Check              HRL
   1137
06/17/2018
                   Welfare Check              HRL
   1221
06/17/2018
                   Welfare Check              HRL
   1242
06/17/2018
                   Welfare Check              HRL
   1249
06/17/2018
                   Welfare Check              HRL
   1300
06/17/2018
                  Shower Provided             HRL                    N/A
   1315
06/17/2018
                   Welfare Check              HRL
   1315
06/17/2018
                   Welfare Check              HRL
   1352


CANDELARIA C                                                                    Printed:      8/16/18
DOB:               A-File #:                                                    Page 7 of 9
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 81 of 250 Page ID
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
                   Welfare Check              HRL
   1516
06/17/2018
                   Welfare Check              HRL
   1603
06/17/2018
                   Welfare Check              HRL
   1743
06/17/2018
                   Welfare Check              HRL
   1800
06/17/2018
                   Welfare Check              HRL
   1819
06/17/2018
               Served meal(Accepted)          HRL                    Hot Meal
   1819
06/17/2018
                   Welfare Check              HRL
   1915
06/17/2018
                   Welfare Check              HRL
   1947
06/17/2018
                Processing Complete           HRL
   2008
06/17/2018
                   Welfare Check              HRL
   2021
06/17/2018
                   Welfare Check              HRL
   2029
06/17/2018
                   Welfare Check              HRL
   2054
06/17/2018
             Snacks, Milk, Juice Provided     HRL                    juice
   2201
06/17/2018
               Served meal(Accepted)          HRL                    Hot Meal - hot pocket, chips, juice
   2201
06/17/2018
                   Welfare Check              HRL
   2201
06/17/2018
                   Welfare Check              HRL
   2255
06/17/2018
               Served meal(Accepted)          HRL                    Hot Meal
   2255
06/17/2018
                   Welfare Check              HRL
   2340
06/18/2018
                   Welfare Check              HRL
   0234
06/18/2018
                      In Transit              HRL
   0256
06/18/2018
                      Received                RGV
   0409


CANDELARIA C                                                                    Printed:      8/16/18
DOB:               A-File #:                                                    Page 8 of 9
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 82 of 250 Page ID
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                                       Station /
Date/Time            Activity                      Agent Name                   Comments
                                       Facility
06/18/2018
                  Welfare Check          RGV
   0505
06/18/2018
                  Welfare Check          RGV
   0551
06/18/2018
                  Welfare Check          RGV
   0700
06/18/2018
               Served meal(Accepted)     RGV                    Hot Meal
   0701
06/18/2018
                 Shower Provided         RGV
   0726
06/18/2018
                  Welfare Check          RGV
   0800
06/18/2018
                  Welfare Check          RGV
   0900
06/18/2018
                  Welfare Check          RGV
   1002
06/18/2018
                  Welfare Check          RGV
   1100
06/18/2018
                  Welfare Check          RGV
   1200
06/18/2018
               Served meal(Accepted)     RGV                    Hot Meal
   1223
06/18/2018
                  Welfare Check          RGV
   1300
06/18/2018
                  Perm Book Out          RGV
   1312




CANDELARIA C                                                               Printed:      8/16/18
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                                     #:23984




Subject Activity Log


DENIS C
                                     Gender:                M
                                     DOB:                         (31 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/13/2018 2000
Book In Date/Time:  06/15/2018 0311
Book Out Date/Time: 06/15/2018 1030

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




DENIS C                                                                     Printed:      8/16/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
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                                      #:23985

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   2000
06/13/2018
                       Book In                 MCS
   2328
06/14/2018
                   Welfare Check               MCS
   0554
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0554
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619



DENIS C                                                                           Printed:      8/16/18
DOB:                        A-File #:                                             Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 85 of 250 Page ID
                                      #:23986




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1820
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
                 Processing Complete          MCS
   2042
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0309
06/15/2018
                      Received                RGV
   0311
06/15/2018
                    Welfare Check             RGV
   0354
06/15/2018
                    Welfare Check             RGV
   0400


DENIS C                                                                          Printed:      8/16/18
DOB:               A-File #:                                                     Page 3 of 4
Event:
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                                      #:23987




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/15/2018
                Welfare Check          RGV
   0500
06/15/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0700
06/15/2018
                Welfare Check          RGV
   0712
06/15/2018
                Welfare Check          RGV
   0800
06/15/2018
                Perm Book Out          RGV
   1030




DENIS C                                                                   Printed:      8/16/18
DOB:            A-File #:                                                 Page 4 of 4
Event:
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                                     #:23988




Subject Activity Log


ELKIN C
                                      Gender:                M
                                      DOB:                         (8 yoa)
                                      Nationality:           HONDURAS
                                      Accompanying Adult(s):




                                      Event:
                                      A-File #:
                                      FINS #:
                                      Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/13/2018 2000
Book In Date/Time:  06/15/2018 0020
Book Out Date/Time: 06/16/2018 0841

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:           BAPTIST CHILD & FAMILY SVCS-HLG

Possible Trafficking?                                      Expresses Fear of Return?




ELKIN C                                                                      Printed:      8/16/18
DOB:                      A-File #:                                          Page 1 of 6
Event:
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                                      #:23989

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   2000
06/13/2018
                       Book In                 MCS
   2328
06/14/2018
                   Welfare Check               MCS
   0243
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0243
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619



ELKIN C                                                                           Printed:      8/16/18
DOB:                        A-File #:                                             Page 2 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 89 of 250 Page ID
                                      #:23990




                                            Station /
Date/Time              Activity                         Agent Name                        Comments
                                            Facility
06/14/2018                                                           ,
               FOJC and ORR Notified          MCS                        Transaction ID:
   1747
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1820
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                        Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                        Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0014
06/15/2018
                       Received               RGV
   0020
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0021                Provided
06/15/2018
             Medical Screening Completed      RGV
   0021


ELKIN C                                                                              Printed:      8/16/18
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Event:
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/15/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   0021                                                              0700hrs
06/15/2018
                   Welfare Check              RGV
   0021
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0021
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                 UAC Video Shown              RGV
   0700
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0705
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                  Shower Provided             RGV
   0843
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600


ELKIN C                                                                         Printed:      8/16/18
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                                      #:23993




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/16/2018
               Perm Book Out       RGV
   0841




ELKIN C                                                        Printed:      8/16/18
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Event:
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                                     #:23994




Subject Activity Log


JUAN C
                                     Gender:                M
                                     DOB:                         (32 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
                                                    Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/13/2018 1915
Book In Date/Time:  06/15/2018 0311
Book Out Date/Time: 06/15/2018 1030

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




JUAN C                                                                      Printed:      8/16/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 94 of 250 Page ID
                                      #:23995

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1915
06/13/2018
                       Book In                 MCS
   2107
06/14/2018
                   Welfare Check               MCS
   0554
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0554
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
                 Processing Complete           MCS
   1550
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619



JUAN C                                                                            Printed:      8/16/18
DOB:                        A-File #:                                             Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 95 of 250 Page ID
                                      #:23996




                                            Station /
Date/Time              Activity                         Agent Name                    Comments
                                            Facility
06/14/2018
                    Welfare Check             MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1820
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0309
06/15/2018
                       Received               RGV
   0311
06/15/2018
                    Welfare Check             RGV
   0354
06/15/2018
                    Welfare Check             RGV
   0400


JUAN                                                                             Printed:      8/16/18
DOB:                 -File #:                                                    Page 3 of 4
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                                      #:23997




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/15/2018
                Welfare Check          RGV
   0500
06/15/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0700
06/15/2018
                Welfare Check          RGV
   0712
06/15/2018
                Welfare Check          RGV
   0800
06/15/2018
                Perm Book Out          RGV
   1030




JUAN C                                                                    Printed:      8/16/18
DOB:            A-File #:                                                 Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 97 of 250 Page ID
                                     #:23998




Subject Activity Log


CARLOS C
                                      Gender:                M
                                      DOB:                          8 yoa)
                                      Nationality:           HONDURAS
                                      Accompanying Adult(s):




                                      Event:
                                      A-File #:
                                      FINS #:
                                      Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/13/2018 1915
Book In Date/Time:  06/15/2018 0020
Book Out Date/Time: 06/15/2018 2348

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:           BAPTIST CHILD & FAMILY SVCS-HLG

Possible Trafficking?                                      Expresses Fear of Return?




CARLOS C                                                                     Printed:      8/16/18
DOB:                      A-File #:                                          Page 1 of 5
Event:
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                                      #:23999

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1915
06/13/2018
                       Book In                 MCS
   2108
06/14/2018
                   Welfare Check               MCS
   0243
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0243
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619



CARLOS C                                                                          Printed:      8/16/18
DOB:                        A-File #:                                             Page 2 of 5
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 99 of 250 Page ID
                                  #:24000
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 100 of 250 Page ID
                                      #:24001




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/15/2018
             Medical Screening Completed      RGV
   0021
06/15/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   0021                                                              0700hrs
06/15/2018
                   Welfare Check              RGV
   0021
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0021
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                 UAC Video Shown              RGV
   0700
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0705
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                  Shower Provided             RGV
   0843
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538


CARLOS C                                                                        Printed:      8/16/18
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Event:
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                                      #:24002




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
              ORR Placement Received          RGV                    BCFS Harlingen
   1654
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                 UAC Video Shown              RGV
   1709
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
                   Telephone Used             RGV
   1902
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Perm Book Out              RGV
   2348




CARLOS C                                                                         Printed:      8/16/18
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Subject Activity Log


LUCIA R
                                     Gender:                F
                                     DOB:                           (23 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/13/2018 1745
Book In Date/Time:  06/15/2018 0333
Book Out Date/Time: 06/18/2018 1031

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




LUCIA R                                                                      Printed:      8/16/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1745
06/13/2018
                       Book In                 MCS
   2031
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                   Welfare Check               MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                   Welfare Check               MCS
   0243
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0243
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519



LUCIA R                                                                           Printed:      8/16/18
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                                      #:24006




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
             Medical Screening Completed      RGV
   0333
06/15/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   0333                                                              0700hrs
06/15/2018
                   Welfare Check              RGV
   0333
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0333
06/15/2018
                      Received                RGV
   0333
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1600


LUCIA R                                                                          Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0744
06/16/2018
               Served meal(Accepted)          RGV                    Cold Meal - fed
   0744
06/16/2018
                   Welfare Check              RGV
   0748
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914
06/16/2018
                   Welfare Check              RGV
   1153
06/16/2018
                Processing Complete           RGV
   1234
06/16/2018
                  Shower Provided             RGV
   1245


LUCIA R                                                                        Printed:      8/16/18
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Event:
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   1249
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500


LUCIA R                                                                   Printed:      8/16/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402
06/17/2018
                Welfare Check          RGV
   1504
06/17/2018
                Welfare Check          RGV
   1602
06/17/2018
                Welfare Check          RGV
   1702
06/17/2018
                Welfare Check          RGV
   1704
06/17/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1704
06/17/2018
                Welfare Check          RGV
   1922
06/17/2018
                Welfare Check          RGV
   2000


LUCIA R                                                                   Printed:      8/16/18
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Subject Activity Log


JAZMIN R
                                     Gender:                F
                                     DOB:                           (4 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): LUCIA                  R




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
                                                     Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/13/2018 1745
Book In Date/Time:  06/15/2018 0333
Book Out Date/Time: 06/18/2018 1031

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




JAZMIN R                                                                     Printed:      8/16/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1745
06/13/2018
                       Book In                 MCS
   2032
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                   Welfare Check               MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                   Welfare Check               MCS
   0053
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0053
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519



JAZMIN R                                                                          Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1619
06/14/2018
             Medical Screening Completed      MCS
   1619
06/14/2018
                    Welfare Check             MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1820
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                    Welfare Check             MCS
   0223
06/15/2018
                Served meal(Accepted)         MCS                    Cold Meal - SANDWICH JUICE
   0223


JAZMIN R                                                                         Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/15/2018
                      In Transit              MCS
   0305
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0333                Provided
06/15/2018
             Medical Screening Completed      RGV
   0333
06/15/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   0333                                                              0700hrs
06/15/2018
                    Welfare Check             RGV
   0333
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0333
06/15/2018
                      Received                RGV
   0333
06/15/2018
                    Welfare Check             RGV
   0354
06/15/2018
                    Welfare Check             RGV
   0400
06/15/2018
                    Welfare Check             RGV
   0500
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0700
06/15/2018
                    Welfare Check             RGV
   0712
06/15/2018
                    Welfare Check             RGV
   0800
06/15/2018
                    Welfare Check             RGV
   1038
06/15/2018
                    Welfare Check             RGV
   1147
06/15/2018
                    Welfare Check             RGV
   1207
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1207
06/15/2018
                    Welfare Check             RGV
   1318
06/15/2018
                    Welfare Check             RGV
   1400
06/15/2018
                    Welfare Check             RGV
   1500
06/15/2018
                    Welfare Check             RGV
   1538


JAZMIN R                                                                        Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0748
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0748


JAZMIN R                                                                         Printed:      8/16/18
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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/16/2018
                  Welfare Check            RGV
   0749
06/16/2018
                  Welfare Check            RGV
   0914
06/16/2018
                  Welfare Check            RGV
   1153
06/16/2018
                 Shower Provided           RGV
   1200
06/16/2018
               Processing Complete         RGV
   1234
06/16/2018
                  Welfare Check            RGV
   1245
06/16/2018
                UAC Video Shown            RGV                    know what to expect
   1245
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1245
06/16/2018
                  Welfare Check            RGV
   1253
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1253
06/16/2018
                  Welfare Check            RGV
   1319
06/16/2018
                  Welfare Check            RGV
   1404
06/16/2018
                  Welfare Check            RGV
   1458
06/16/2018
                  Welfare Check            RGV
   1557
06/16/2018
                  Welfare Check            RGV
   1658
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904
06/16/2018
                  Welfare Check            RGV
   2052
06/16/2018
                  Welfare Check            RGV
   2247


JAZMIN R                                                                      Printed:      8/16/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402


JAZMIN R                                                                 Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   1504
06/17/2018
                   Welfare Check              RGV
   1602
06/17/2018
                   Welfare Check              RGV
   1702
06/17/2018
                   Welfare Check              RGV
   1704
06/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1704
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308
06/18/2018
                   Welfare Check              RGV
   0402
06/18/2018
                   Welfare Check              RGV
   0505
06/18/2018
                   Welfare Check              RGV
   0551
06/18/2018
                   Welfare Check              RGV
   0700
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
06/18/2018
                   Welfare Check              RGV
   0800


JAZMIN R                                                                         Printed:      8/16/18
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                                        Station /
Date/Time           Activity                        Agent Name        Comments
                                        Facility
06/18/2018
             Bodily Cleansing Product     RGV
   0823
06/18/2018
             Dental Hygiene Product       RGV
   0823
06/18/2018
             Clean Clothing Provided      RGV
   0823
06/18/2018
                Shower Provided           RGV
   0823
06/18/2018
                  Welfare Check           RGV
   0900
06/18/2018
                  Welfare Check           RGV
   1002
06/18/2018
                 Perm Book Out            RGV
   1031




JAZMIN R                                                         Printed:      8/16/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   2000
06/13/2018
                       Book In                 MCS
   2335
06/14/2018
                   Welfare Check               MCS
   0554
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0554
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                 Processing Complete           MCS
   1235
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619



NORIN U                                                                           Printed:      8/17/18
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                                             Station /
Date/Time              Activity                          Agent Name                    Comments
                                             Facility
06/14/2018
                       In Transit              MCS
   1743
06/14/2018
                       Received                RGV
   1942
06/14/2018
                     Welfare Check             RGV
   2008
06/14/2018
              Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                     Welfare Check             RGV
   2009
06/14/2018
                     Welfare Check             RGV
   2111
06/14/2018
                     Welfare Check             RGV
   2222
06/14/2018
                     Welfare Check             RGV
   2300
06/15/2018
                     Welfare Check             RGV
   0011
06/15/2018
                     Welfare Check             RGV
   0100
06/15/2018
                     Welfare Check             RGV
   0354
06/15/2018
                     Welfare Check             RGV
   0400
06/15/2018
                     Welfare Check             RGV
   0500
06/15/2018
                 Served meal(Accepted)         RGV                    Cold Meal
   0700
06/15/2018
                     Welfare Check             RGV
   0712
06/15/2018
                    Perm Book Out              RGV
   0731
06/15/2018
                        Book In                RGV
   1145
06/15/2018
                     Welfare Check             RGV
   1207
06/15/2018
                 Served meal(Accepted)         RGV                    Hot Meal
   1207
06/15/2018
                     Welfare Check             RGV
   1318
06/15/2018
                     Welfare Check             RGV
   1400


NORIN URVINA-BUENO                                                                Printed:      8/17/18
DOB: 12/14/1978(39 yA-File #: 215763555                                           Page 3 of 4
Event: MCS1806000494
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   2000
06/13/2018
                       Book In                 MCS
   2336
06/14/2018
                    Welfare Check              MCS
   0243
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0243
06/14/2018
                    Welfare Check              MCS
   0654
06/14/2018
                    Welfare Check              MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                    Welfare Check              MCS
   0805
06/14/2018
               FOJC and ORR Notified           MCS                    Transaction ID:
   0925
06/14/2018
                      In Transit               MCS
   1126
06/14/2018
                      Received                 RGV
   1159
06/14/2018
               Bodily Cleansing Product        RGV
   1202
06/14/2018
               Dental Hygiene Product          RGV
   1202
06/14/2018
               Clean Clothing Provided         RGV
   1202
06/14/2018
             Medical Screening Completed       RGV
   1202
06/14/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1202
06/14/2018
                    Welfare Check              RGV
   1202
06/14/2018
             Snacks, Milk, Juice Provided      RGV
   1202
06/14/2018
                   Shower Provided             RGV
   1202
06/14/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1202                Provided



BELIN U                                                                           Printed:      8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   1221
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1221
06/14/2018
                   Welfare Check              RGV
   1310
06/14/2018
                   Welfare Check              RGV
   1404
06/14/2018
                 UAC Video Shown              RGV
   1507
06/14/2018
                   Welfare Check              RGV
   1517
06/14/2018
                   Welfare Check              RGV
   1602
06/14/2018
                   Welfare Check              RGV
   1611
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                 UAC Video Shown              RGV
   1712
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Telephone Used             RGV
   1945
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011


BELIN U                                                                          Printed:      8/17/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/15/2018
                Welfare Check          RGV
   0100
06/15/2018
              Processing Complete      RGV
   0342
06/15/2018
                Welfare Check          RGV
   0354
06/15/2018
                Welfare Check          RGV
   0400
06/15/2018
                Welfare Check          RGV
   0500
06/15/2018
              UAC Video Shown          RGV
   0700
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0705
06/15/2018
                Welfare Check          RGV
   0712
06/15/2018
                Welfare Check          RGV
   0800
06/15/2018
                Welfare Check          RGV
   1038
06/15/2018
                Welfare Check          RGV
   1147
06/15/2018
                Welfare Check          RGV
   1207
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1207
06/15/2018
                Welfare Check          RGV
   1318
06/15/2018
                Welfare Check          RGV
   1400
06/15/2018
                Welfare Check          RGV
   1500
06/15/2018
                Welfare Check          RGV
   1538
06/15/2018
                Welfare Check          RGV
   1600
06/15/2018
             Served meal(Accepted)     RGV                     old Meal
   1600
06/15/2018
                Welfare Check          RGV
   1701
06/15/2018
              UAC Video Shown          RGV
   1713


BELIN U                                                                   Printed:      8/17/18
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Subject Activity Log


CAROL R
                                     Gender:                F
                                     DOB:                         (39 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 1645
Book In Date/Time:  06/19/2018 1404
Book Out Date/Time: 06/23/2018 0318

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




CAROL R                                                                     Printed:     8/8/18
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                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                   Comments
                                      Facility
06/12/2018
                    Arrest              N/A
   1645
06/12/2018
                   Book In              RGC
   2214
06/13/2018
                Welfare Check           RGC
   0351
06/13/2018
             Served meal(Accepted)      RGC                    Cold Meal
   0351
06/13/2018
                Welfare Check           RGC                    ntr
   0918
06/13/2018
             Served meal(Accepted)      RGC                    Cold Meal
   0918
06/13/2018
                Welfare Check           RGC
   1413
06/13/2018
             Served meal(Accepted)      RGC                    Cold Meal
   1413
06/13/2018
                Welfare Check           RGC
   2025
06/13/2018
             Served meal(Accepted)      RGC                    Cold Meal
   2025
06/13/2018
                   In Transit           RGC
   2236
06/14/2018
                   Received             MCS
   0010
06/14/2018
                   In Transit           MCS
   0013
06/14/2018
                   Received             RGV
   0015
06/14/2018
                Welfare Check           RGV
   0100
06/14/2018
                Welfare Check           RGV
   0200
06/14/2018
                Welfare Check           RGV
   0303
06/14/2018
                Welfare Check           RGV
   0306
06/14/2018
                Welfare Check           RGV
   0401
06/14/2018
                Welfare Check           RGV
   0501



CAROL R                                                                    Printed:     8/8/18
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                                             Station /
Date/Time              Activity                          Agent Name                   Comments
                                             Facility
06/14/2018
                     Welfare Check             RGV
   0733
06/14/2018
                 Served meal(Accepted)         RGV                    Hot Meal
   0733
06/14/2018
                     Welfare Check             RGV
   0801
06/14/2018
                     Welfare Check             RGV
   0905
06/14/2018
                     Welfare Check             RGV
   1012
06/14/2018
                     Welfare Check             RGV
   1100
06/14/2018
                     Welfare Check             RGV
   1221
06/14/2018
                 Served meal(Accepted)         RGV                    Cold Meal
   1221
06/14/2018
                     Welfare Check             RGV
   1310
06/14/2018
                     Welfare Check             RGV
   1404
06/14/2018
                     Welfare Check             RGV
   1517
06/14/2018
                     Welfare Check             RGV
   1602
06/14/2018
                     Welfare Check             RGV
   1611
06/14/2018
                 Served meal(Accepted)         RGV                    Cold Meal
   1611
06/14/2018
                     Welfare Check             RGV
   1701
06/14/2018
                     Welfare Check             RGV
   1813
06/14/2018
                     Welfare Check             RGV
   1941
06/14/2018
                     Welfare Check             RGV
   2008
06/14/2018
              Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                     Welfare Check             RGV
   2009
06/14/2018
                     Welfare Check             RGV
   2111


CAROL RUANO-HERNANDEZ                                                             Printed:     8/8/18
DOB: 03/08/1979(39 yA-File #: 215766520                                           Page 3 of 13
Event: RGC1806000285
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                                      #:24032




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/14/2018
                Welfare Check          RGV
   2222
06/14/2018
                Welfare Check          RGV
   2300
06/15/2018
                Welfare Check          RGV
   0011
06/15/2018
                Welfare Check          RGV
   0100
06/15/2018
                Welfare Check          RGV
   0354
06/15/2018
                Welfare Check          RGV
   0400
06/15/2018
                Welfare Check          RGV
   0500
06/15/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0700
06/15/2018
                Welfare Check          RGV
   0712
06/15/2018
                Welfare Check          RGV
   0800
06/15/2018
                Welfare Check          RGV
   1038
06/15/2018
                Welfare Check          RGV
   1147
06/15/2018
                Welfare Check          RGV
   1207
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1207
06/15/2018
                Welfare Check          RGV
   1318
06/15/2018
                Welfare Check          RGV
   1400
06/15/2018
                Welfare Check          RGV
   1500
06/15/2018
                Welfare Check          RGV
   1538
06/15/2018
                Welfare Check          RGV
   1600
06/15/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
06/15/2018
                Welfare Check          RGV
   1701


CAROL R                                                                   Printed:     8/8/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
               Shower Provided         RGV
   1300
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559


CAROL R                                                                   Printed:     8/8/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   2356
06/18/2018
                Welfare Check          RGV
   0059
06/18/2018
                Welfare Check          RGV
   0150
06/18/2018
                Welfare Check          RGV
   0210
06/18/2018
                Welfare Check          RGV
   0308
06/18/2018
                Welfare Check          RGV
   0402
06/18/2018
                Welfare Check          RGV
   0505
06/18/2018
                Welfare Check          RGV
   0551
06/18/2018
                Welfare Check          RGV
   0700
06/18/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0730
06/18/2018
                Welfare Check          RGV
   0800
06/18/2018
                Welfare Check          RGV
   0900
06/18/2018
                Welfare Check          RGV
   1002
06/18/2018
                Welfare Check          RGV
   1100
06/18/2018
                Welfare Check          RGV
   1200
06/18/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1200
06/18/2018
                Welfare Check          RGV
   1300
06/18/2018
                Welfare Check          RGV
   1403
06/18/2018
                Welfare Check          RGV
   1530
06/18/2018
                Welfare Check          RGV
   1600
06/18/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600


CAROL R                                                                   Printed:     8/8/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/18/2018
                   Welfare Check              RGV
   1700
06/18/2018
                   Welfare Check              RGV
   1800
06/18/2018
                   Welfare Check              RGV
   1904
06/18/2018
             Snacks, Milk, Juice Provided     RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2105
06/18/2018
                   Welfare Check              RGV
   2207
06/18/2018
                   Welfare Check              RGV
   2309
06/19/2018
                   Welfare Check              RGV
   0007
06/19/2018
                   Welfare Check              RGV
   0124
06/19/2018
                   Welfare Check              RGV
   0216
06/19/2018
                   Welfare Check              RGV
   0340
06/19/2018
                   Welfare Check              RGV
   0425
06/19/2018
                   Welfare Check              RGV
   0508
06/19/2018
                   Welfare Check              RGV
   0609
06/19/2018
                   Welfare Check              RGV
   0700
06/19/2018
                   Welfare Check              RGV
   0717
06/19/2018
               Served meal(Accepted)          RGV                    Cold Meal
   0717
06/19/2018
                   Welfare Check              RGV
   0800
06/19/2018
                   Welfare Check              RGV
   1131
06/19/2018
                   Welfare Check              RGV
   1302


CAROL R                                                                          Printed:     8/8/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/19/2018
                  REROUTE              RGV
   1400
06/19/2018
                   Received            RGV
   1404
06/19/2018
                Welfare Check          RGV
   1500
06/19/2018
                   In Transit          RGV
   1500
06/19/2018
                Welfare Check          RGV
   1558
06/19/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1558
06/19/2018
                Welfare Check          RGV
   1727
06/19/2018
                Welfare Check          RGV
   1816
06/19/2018
                Welfare Check          RGV
   1901
06/19/2018
                Welfare Check          RGV
   2004
06/19/2018
                Welfare Check          RGV
   2105
06/19/2018
                Welfare Check          RGV
   2202
06/19/2018
                Welfare Check          RGV
   2259
06/20/2018
                Welfare Check          RGV
   0022
06/20/2018
                Welfare Check          RGV
   0148
06/20/2018
                Welfare Check          RGV
   0432
06/20/2018
                Welfare Check          RGV
   0528
06/20/2018
                Welfare Check          RGV
   0815
06/20/2018
                Welfare Check          RGV
   0837
06/20/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0837
06/20/2018
                Welfare Check          RGV
   1000


CAROL R                                                                   Printed:      8/8/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/21/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0822
06/21/2018
                Welfare Check          RGV
   1127
06/21/2018
                Welfare Check          RGV
   1313
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1313
06/21/2018
                Welfare Check          RGV
   1435
06/21/2018
                Welfare Check          RGV
   1605
06/21/2018
                Welfare Check          RGV
   1656
06/21/2018
                Welfare Check          RGV
   1800
06/21/2018
                Welfare Check          RGV
   1901
06/21/2018
                Welfare Check          RGV
   1936
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1936
06/21/2018
                Welfare Check          RGV
   1957
06/21/2018
                Welfare Check          RGV
   2059
06/21/2018
                Welfare Check          RGV
   2157
06/21/2018
                Welfare Check          RGV
   2219
06/22/2018
                Welfare Check          RGV
   0108
06/22/2018
                Welfare Check          RGV
   0152
06/22/2018
                Welfare Check          RGV
   0459
06/22/2018
                Welfare Check          RGV
   0606
06/22/2018
                Welfare Check          RGV
   0700
06/22/2018
                Welfare Check          RGV
   0753


CAROL R                                                                   Printed:      8/8/18
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Event:
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                                  #:24041
   Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 141 of 250 Page ID
                                     #:24042




Subject Activity Log


CAROL STHEFANY H
                                     Gender:                F
                                     DOB:                         (18 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 1645
Book In Date/Time:  06/15/2018 0807
Book Out Date/Time: 06/16/2018 1312

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




CAROL STHEFANY H                                                            Printed:      8/12/18
DOB:                     A-File #:                                          Page 1 of 5
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 142 of 250 Page ID
                                  #:24043
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 143 of 250 Page ID
                                  #:24044
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 144 of 250 Page ID
                                  #:24045
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 145 of 250 Page ID
                                      #:24046




                                      Station /
Date/Time           Activity                      Agent Name                  Comments
                                      Facility
06/15/2018
                 Welfare Check          RGV
   2105
06/15/2018
                 Welfare Check          RGV
   2202
06/15/2018
                 Welfare Check          RGV
   2300
06/16/2018
                 Welfare Check          RGV
   0207
06/16/2018
                 Welfare Check          RGV
   0302
06/16/2018
                 Welfare Check          RGV
   0403
06/16/2018
                 Welfare Check          RGV
   0523
06/16/2018
                 Welfare Check          RGV
   0744
06/16/2018
              Served meal(Accepted)     RGV                    Cold Meal - fed
   0744
06/16/2018
                 Welfare Check          RGV
   0749
06/16/2018
                 Welfare Check          RGV
   0914
06/16/2018
                 Welfare Check          RGV
   1153
06/16/2018
                 Welfare Check          RGV
   1249
06/16/2018
              Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                 Perm Book Out          RGV
   1312




CAROL STHEFANY H                                                         Printed:      8/12/18
DOB:           A-File #:                                                 Page 5 of 5
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 146 of 250 Page ID
                                  #:24047
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 147 of 250 Page ID
                                  #:24048
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                                      #:24049




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/14/2018
                   Welfare Check           RGV
   0733
06/14/2018
               Served meal(Accepted)       RGV                    Hot Meal
   0733
06/14/2018
                   Welfare Check           RGV
   0801
06/14/2018
                   Welfare Check           RGV
   0905
06/14/2018
                   Welfare Check           RGV
   1012
06/14/2018
                   Welfare Check           RGV
   1100
06/14/2018
                   Welfare Check           RGV
   1221
06/14/2018
               Served meal(Accepted)       RGV                    Cold Meal
   1221
06/14/2018
                   Welfare Check           RGV
   1310
06/14/2018
                   Welfare Check           RGV
   1404
06/14/2018
              Bodily Cleansing Product     RGV
   1506
06/14/2018
              Dental Hygiene Product       RGV
   1506
06/14/2018
              Clean Clothing Provided      RGV
   1506
06/14/2018
                 Shower Provided           RGV
   1506
06/14/2018
                   Welfare Check           RGV
   1517
06/14/2018
                   Welfare Check           RGV
   1602
06/14/2018
              FOJC and ORR Notified        RGV                    Transaction ID:
   1605
06/14/2018
                   Welfare Check           RGV
   1611
06/14/2018
               Served meal(Accepted)       RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check           RGV
   1701
06/14/2018
                UAC Video Shown            RGV
   1712


FREDERICK H                                                                   Printed:      8/8/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Telephone Used             RGV
   1945
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                 UAC Video Shown              RGV
   0700
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0705
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207


FREDERICK H                                                                     Printed:      8/8/18
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    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 150 of 250 Page ID
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
                   Telephone Used             RGV
   1902
06/15/2018
              ORR Placement Received          RGV                    SWK Casa Phoenix
   1948
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                Processing Complete           RGV
   0100
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403


FREDERICK H                                                                      Printed:      8/8/18
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                                      Station /
Date/Time           Activity                      Agent Name                    Comments
                                      Facility
06/16/2018
                 Welfare Check          RGV
   0523
06/16/2018
                 Welfare Check          RGV
   0742
06/16/2018
               UAC Video Shown          RGV                    know what to expect
   0742
06/16/2018
              Served meal(Accepted)     RGV                    Hot Meal - fed
   0742
06/16/2018
                 Welfare Check          RGV
   0748
06/16/2018
              Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                 Welfare Check          RGV
   0749
06/16/2018
                 Welfare Check          RGV
   0914
06/16/2018
                 Welfare Check          RGV
   1153
06/16/2018
                 Welfare Check          RGV
   1245
06/16/2018
               UAC Video Shown          RGV                    know what to expect
   1245
06/16/2018
              Served meal(Accepted)     RGV                    Hot Meal - fed
   1245
06/16/2018
                 Welfare Check          RGV
   1253
06/16/2018
              Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                 Welfare Check          RGV
   1319
06/16/2018
                 Perm Book Out          RGV
   1357




FREDERICK H                                                              Printed:      8/8/18
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Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 153 of 250 Page ID
                                  #:24054
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/13/2018
                Welfare Check          RGV
   1159
06/13/2018
                Welfare Check          RGV
   1200
06/13/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1200
06/13/2018
                Welfare Check          RGV
   1259
06/13/2018
                Welfare Check          RGV
   1357
06/13/2018
                Welfare Check          RGV
   1526
06/13/2018
                Welfare Check          RGV
   1613
06/13/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1613
06/13/2018
                Welfare Check          RGV
   1622
06/13/2018
                Welfare Check          RGV
   1805
06/13/2018
                Welfare Check          RGV
   1816
06/13/2018
                Welfare Check          RGV
   1911
06/13/2018
                Welfare Check          RGV
   1924
06/13/2018
                Welfare Check          RGV
   2022
06/13/2018
                Welfare Check          RGV
   2103
06/13/2018
                Welfare Check          RGV
   2300
06/14/2018
                Welfare Check          RGV
   0001
06/14/2018
                Welfare Check          RGV
   0100
06/14/2018
                Welfare Check          RGV
   0200
06/14/2018
                Welfare Check          RGV
   0303
06/14/2018
                Welfare Check          RGV
   0306


ELRY G                                                                    Printed:     8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   0401
06/14/2018
                   Welfare Check              RGV
   0501
06/14/2018
                   Welfare Check              RGV
   0733
06/14/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0733
06/14/2018
                   Welfare Check              RGV
   0801
06/14/2018
                   Welfare Check              RGV
   0905
06/14/2018
                   Welfare Check              RGV
   1012
06/14/2018
                   Welfare Check              RGV
   1100
06/14/2018
                   Welfare Check              RGV
   1221
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1221
06/14/2018
                   Welfare Check              RGV
   1310
06/14/2018
                   Welfare Check              RGV
   1404
06/14/2018
                   Welfare Check              RGV
   1517
06/14/2018
                   Welfare Check              RGV
   1602
06/14/2018
                   Welfare Check              RGV
   1611
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009


ELRY G                                                                           Printed:     8/17/18
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                                     Station /
Date/Time          Activity                      Agent Name                  Comments
                                     Facility
06/14/2018
                Welfare Check          RGV
   2009
06/14/2018
                Welfare Check          RGV
   2111
06/14/2018
                Welfare Check          RGV
   2222
06/14/2018
                Welfare Check          RGV
   2300
06/15/2018
                Welfare Check          RGV
   0011
06/15/2018
                Welfare Check          RGV
   0100
06/15/2018
                Welfare Check          RGV
   0354
06/15/2018
                Welfare Check          RGV
   0400
06/15/2018
                Welfare Check          RGV
   0500
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0700
06/15/2018
                Welfare Check          RGV
   0712
06/15/2018
                Welfare Check          RGV
   0800
06/15/2018
                Welfare Check          RGV
   1038
06/15/2018
                Welfare Check          RGV
   1147
06/15/2018
                Welfare Check          RGV
   1207
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1207
06/15/2018
                Welfare Check          RGV
   1318
06/15/2018
                Welfare Check          RGV
   1400
06/15/2018
                Welfare Check          RGV
   1500
06/15/2018
                Welfare Check          RGV
   1538
06/15/2018
                Welfare Check          RGV
   1600


ELRY G                                                                   Printed:     8/17/18
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Event:
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                                  #:24059
Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 159 of 250 Page ID
                                  #:24060
    Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 160 of 250 Page ID
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402
06/17/2018
                Welfare Check          RGV
   1504
06/17/2018
                Welfare Check          RGV
   1602
06/17/2018
                Welfare Check          RGV
   1702
06/17/2018
                Welfare Check          RGV
   1704
06/17/2018
             Served meal(Accepted)     RGV                     old Meal
   1704
06/17/2018
                Welfare Check          RGV
   1922
06/17/2018
                Welfare Check          RGV
   2000


ELRY G                                                                    Printed:     8/17/18
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Event:
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                                      #:24062




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                Processing Complete           RGV
   2302
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308
06/18/2018
                   Welfare Check              RGV
   0402
06/18/2018
                   Welfare Check              RGV
   0505
06/18/2018
                   Welfare Check              RGV
   0551
06/18/2018
                   Welfare Check              RGV
   0700
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
06/18/2018
                   Welfare Check              RGV
   0800
06/18/2018
                   Welfare Check              RGV
   0900
06/18/2018
                   Welfare Check              RGV
   1002
06/18/2018
                   Welfare Check              RGV
   1100
06/18/2018
                   Welfare Check              RGV
   1200
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1223
06/18/2018
                   Welfare Check              RGV
   1300


ELRY G                                                                          Printed:      8/17/18
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Subject Activity Log


FERDY G
                                  Gender:                M
                                  DOB:                         (5 yoa)
                                  Nationality:           GUATEMALA
                                  Accompanying Adult(s): ELRY         G




                                  Event:
                                  A-File #:
                                  FINS #:
                                  Disposition:
Medical Conditions:                              Detention Reasons:
No Medical Conditions Found                      Immigration Violation




Arrest Date/Time:   06/11/2018 0230
Book In Date/Time:  06/12/2018 1638
Book Out Date/Time: 06/18/2018 1312

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                  Expresses Fear of Return?




FERDY G                                                                  Printed:     8/17/18
DOB:                     A-File #: 215762821                             Page 1 of 11
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/11/2018
                        Arrest                 N/A
   0230
06/12/2018
                       Book In                 MCS
   0356
06/12/2018
                    Welfare Check              MCS
   0451
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0451
06/12/2018
                    Welfare Check              MCS
   0630
06/12/2018
                Served meal(Accepted)          MCS                    Hot Meal - Served by G4S
   0630
06/12/2018
                    Welfare Check              MCS
   0843
06/12/2018
                    Welfare Check              MCS
   1123
06/12/2018
                    Welfare Check              MCS
   1248
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1248
06/12/2018
                    Welfare Check              MCS
   1430
06/12/2018
                    Welfare Check              MCS
   1530
06/12/2018
                      In Transit               MCS                    MFT0010878206
   1607
06/12/2018
               Bodily Cleansing Product        RGV
   1638
06/12/2018
               Clean Clothing Provided         RGV
   1638
06/12/2018
             Medical Screening Completed       RGV
   1638
06/12/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1638
06/12/2018
                    Welfare Check              RGV
   1638
06/12/2018
                   Shower Provided             RGV
   1638
06/12/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1638                Provided



FERDY G                                                                           Printed:     8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                  Comments
                                            Facility
06/12/2018
                      Received                RGV
   1638
06/12/2018
                   Welfare Check              RGV
   1700
06/12/2018
                   Welfare Check              RGV
   1805
06/12/2018
                   Welfare Check              RGV
   1905
06/12/2018
                   Welfare Check              RGV
   1906
06/12/2018
                   Welfare Check              RGV
   1955
06/12/2018
                   Welfare Check              RGV
   2105
06/12/2018
                   Welfare Check              RGV
   2158
06/12/2018
             Snacks, Milk, Juice Provided     RGV
   2200
06/12/2018
                   Welfare Check              RGV
   2200
06/13/2018
                   Welfare Check              RGV
   0012
06/13/2018
                   Welfare Check              RGV
   0215
06/13/2018
                   Welfare Check              RGV
   0315
06/13/2018
                   Welfare Check              RGV
   0424
06/13/2018
                   Welfare Check              RGV
   0506
06/13/2018
                   Welfare Check              RGV
   0700
06/13/2018
             Snacks, Milk, Juice Provided     RGV
   0729
06/13/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0729
06/13/2018
                   Welfare Check              RGV
   0729
06/13/2018
                   Welfare Check              RGV
   0805
06/13/2018
                   Welfare Check              RGV
   0904


FERDY G                                                                         Printed:     8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                 UAC Video Shown              RGV
   1712
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
             Rejoined With Family Unit        RGV
   1947
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038


FERDY G                                                                          Printed:     8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302


FERDY G                                                                          Printed:     8/17/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   0403
06/16/2018
                Welfare Check          RGV
   0523
06/16/2018
                Welfare Check          RGV
   0742
06/16/2018
              UAC Video Shown          RGV                    know what to expect
   0742
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0742
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1245
06/16/2018
              UAC Video Shown          RGV                    know what to expect
   1245
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1245
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
               Shower Provided         RGV
   1500
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658


FERDY G                                                                 Printed:     8/17/18
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                                         Station /
Date/Time            Activity                        Agent Name                   Comments
                                         Facility
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904
06/16/2018
                  Welfare Check            RGV
   2052
06/16/2018
                  Welfare Check            RGV
   2247
06/17/2018
                  Welfare Check            RGV
   0028
06/17/2018
                  Welfare Check            RGV
   0100
06/17/2018
                  Welfare Check            RGV
   0200
06/17/2018
                  Welfare Check            RGV
   0302
06/17/2018
                  Welfare Check            RGV
   0400
06/17/2018
                  Welfare Check            RGV
   0405
06/17/2018
                  Welfare Check            RGV
   0500
06/17/2018
                  Welfare Check            RGV
   0559
06/17/2018
                  Welfare Check            RGV
   0654
06/17/2018
                  Welfare Check            RGV
   0700
06/17/2018
                  Welfare Check            RGV
   0736
06/17/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0736
06/17/2018
                  Welfare Check            RGV
   0822
06/17/2018
                  Welfare Check            RGV
   0903
06/17/2018
                  Welfare Check            RGV
   1004


FERDY G                                                                       Printed:     8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   1105
06/17/2018
                   Welfare Check              RGV
   1206
06/17/2018
                   Welfare Check              RGV
   1208
06/17/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1208
06/17/2018
                   Welfare Check              RGV
   1305
06/17/2018
                   Welfare Check              RGV
   1402
06/17/2018
                   Welfare Check              RGV
   1504
06/17/2018
                   Welfare Check              RGV
   1602
06/17/2018
                   Welfare Check              RGV
   1702
06/17/2018
                   Welfare Check              RGV
   1704
06/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1704
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                Processing Complete           RGV
   2302
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210


FERDY G                                                                          Printed:      8/17/18
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Subject Activity Log


EYDI P
                                     Gender:                F
                                     DOB:                         (36 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 1415
Book In Date/Time:  06/12/2018 2359
Book Out Date/Time: 06/16/2018 1044

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




EYDI P                                                                      Printed:      8/8/18
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Event:
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   1415
06/12/2018
                       Book In                 MCS
   1626
06/12/2018
                    Welfare Check              MCS
   1747
06/12/2018
                    Welfare Check              MCS
   1748
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1748
06/12/2018
                    Welfare Check              MCS
   1837
06/12/2018
                    Welfare Check              MCS
   2002
06/12/2018
                    Welfare Check              MCS
   2143
06/12/2018
                    Welfare Check              MCS
   2215
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal
   2215
06/12/2018
                    Welfare Check              MCS
   2242
06/12/2018
                      In Transit               MCS
   2329
06/12/2018
                      Received                 RGV
   2359
06/13/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0000                Provided
06/13/2018
             Medical Screening Completed       RGV
   0000
06/13/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0000
06/13/2018
                    Welfare Check              RGV
   0000
06/13/2018
             Snacks, Milk, Juice Provided      RGV
   0000
                                                                      Detainee could not be showered at this time
06/13/2018                                                            since time of arrival did not fall with in the
                   Shower Provided             RGV
   0000                                                               providers hours of operations. Detainee
                                                                      will be showered once operation resumes.



EYDI P                                                                            Printed:      8/8/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/13/2018
                   Welfare Check              RGV
   0012
06/13/2018
                   Welfare Check              RGV
   0215
06/13/2018
                   Welfare Check              RGV
   0315
06/13/2018
                   Welfare Check              RGV
   0424
06/13/2018
                   Welfare Check              RGV
   0506
06/13/2018
                   Welfare Check              RGV
   0700
06/13/2018
                  Shower Provided             RGV
   0703
06/13/2018
             Snacks, Milk, Juice Provided     RGV
   0729
06/13/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0729
06/13/2018
                   Welfare Check              RGV
   0729
06/13/2018
                   Welfare Check              RGV
   0805
06/13/2018
                   Welfare Check              RGV
   0904
06/13/2018
                   Welfare Check              RGV
   1001
06/13/2018
                   Welfare Check              RGV
   1101
06/13/2018
                   Welfare Check              RGV
   1159
06/13/2018
                   Welfare Check              RGV
   1259
06/13/2018
                   Welfare Check              RGV
   1357
06/13/2018
                Processing Complete           RGV
   1417
06/13/2018
                   Welfare Check              RGV
   1526
06/13/2018
                   Welfare Check              RGV
   1609
06/13/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1609


EYDI P                                                                           Printed:      8/8/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   1012
06/14/2018
                   Welfare Check              RGV
   1100
06/14/2018
                   Welfare Check              RGV
   1221
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1221
06/14/2018
                   Welfare Check              RGV
   1310
06/14/2018
                   Welfare Check              RGV
   1404
06/14/2018
                   Welfare Check              RGV
   1517
06/14/2018
                   Welfare Check              RGV
   1602
06/14/2018
                   Welfare Check              RGV
   1611
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100


EYDI P                                                                           Printed:      8/8/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008


EYDI P                                                                           Printed:      8/8/18
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Event:
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/15/2018
                Welfare Check          RGV
   2105
06/15/2018
                Welfare Check          RGV
   2202
06/15/2018
                Welfare Check          RGV
   2300
06/16/2018
                Welfare Check          RGV
   0207
06/16/2018
                Welfare Check          RGV
   0302
06/16/2018
                Welfare Check          RGV
   0403
06/16/2018
                Welfare Check          RGV
   0523
06/16/2018
                Welfare Check          RGV
   0744
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   0744
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Perm Book Out          RGV
   1044




EYDI P                                                                  Printed:      8/8/18
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Subject Activity Log


KENSY P
                                     Gender:                F
                                     DOB:                          5 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): EYDI         P




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
                                                    Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 1415
Book In Date/Time:  06/12/2018 2359
Book Out Date/Time: 06/16/2018 1044

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




KENSY P                                                                     Printed:      8/8/18
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Event:
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   1415
06/12/2018
                       Book In                 MCS
   1626
06/12/2018
                    Welfare Check              MCS
   1747
06/12/2018
                    Welfare Check              MCS
   1748
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1748
06/12/2018
                    Welfare Check              MCS
   1837
06/12/2018
                    Welfare Check              MCS
   2002
06/12/2018
                    Welfare Check              MCS
   2143
06/12/2018
                    Welfare Check              MCS
   2215
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal
   2215
06/12/2018
                    Welfare Check              MCS
   2242
06/12/2018
                      In Transit               MCS
   2329
06/12/2018
                      Received                 RGV
   2359
06/13/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0000                Provided
06/13/2018
                 UAC Video Shown               RGV
   0000
06/13/2018
             Medical Screening Completed       RGV
   0000
06/13/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0000
06/13/2018
                    Welfare Check              RGV
   0000
06/13/2018
             Snacks, Milk, Juice Provided      RGV
   0000




KENSY P                                                                           Printed:      8/8/18
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                                     Station /
Date/Time           Activity                     Agent Name                    Comments
                                     Facility
06/13/2018
                 Welfare Check         RGV
   1526
06/13/2018
                 Welfare Check         RGV
   1614
06/13/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1614
06/13/2018
                 Welfare Check         RGV
   1622
06/13/2018
                 Welfare Check         RGV
   1805
06/13/2018
                 Welfare Check         RGV
   1816
06/13/2018
             FOJC and ORR Notified     RGV                    Transaction ID:
   1825
06/13/2018
                 Welfare Check         RGV
   1911
06/13/2018
                Telephone Used         RGV
   1917
06/13/2018
                 Welfare Check         RGV
   1924
06/13/2018
                 Welfare Check         RGV
   2022
06/13/2018
                 Welfare Check         RGV
   2103
06/13/2018
                 Welfare Check         RGV
   2300
06/14/2018
                 Welfare Check         RGV
   0001
06/14/2018
                 Welfare Check         RGV
   0100
06/14/2018
                 Welfare Check         RGV
   0200
06/14/2018
                 Welfare Check         RGV
   0303
06/14/2018
                 Welfare Check         RGV
   0306
06/14/2018
                 Welfare Check         RGV
   0401
06/14/2018
                 Welfare Check         RGV
   0501
06/14/2018
                 Welfare Check         RGV
   0733


KENSY P                                                                   Printed:      8/8/18
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                                  #:24087
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                                      #:24088




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742


KENSY P                                                                          Printed:      8/8/18
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                                     #:24090




Subject Activity Log


IFRAIN H
                                     Gender:                M
                                     DOB:                          36 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 1745
Book In Date/Time:  06/14/2018 0326
Book Out Date/Time: 06/14/2018 0720

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




IFRAIN H                                                                    Printed:      8/17/18
DOB:                     A-File #:                                          Page 1 of 2
Event:
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                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
06/12/2018
                    Arrest              N/A
   1745
06/12/2018
                   Book In              RGC
   2134
06/13/2018
                Welfare Check           RGC
   0351
06/13/2018
             Served meal(Accepted)      RGC                    Cold Meal
   0351
06/13/2018
                Welfare Check           RGC                    ntr
   0918
06/13/2018
             Served meal(Accepted)      RGC                    Cold Meal
   0918
06/13/2018
                Welfare Check           RGC
   1413
06/13/2018
             Served meal(Accepted)      RGC                    Cold Meal
   1413
06/13/2018
              Processing Complete       RGC
   1428
06/13/2018
                Welfare Check           RGC
   2025
06/13/2018
             Served meal(Accepted)      RGC                    Cold Meal
   2025
06/14/2018
                   In Transit           RGC
   0241
06/14/2018
                   Received             RGV
   0326
06/14/2018
                Welfare Check           RGV
   0401
06/14/2018
                Welfare Check           RGV
   0501
06/14/2018
                Perm Book Out           RGV
   0720




IFRAIN H                                                                   Printed:      8/17/18
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Event:
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Subject Activity Log


JESICA H
                                      Gender:                F
                                      DOB:                              16 yoa)
                                      Nationality:
                                      Accompanying Adult(s):




                                      Event:
                                      A-File #:
                                      FINS #:
                                      Disposition:
Medical Conditions:                                   Detention Reasons:
No Medical Conditions Found                           Immigration Violation




Arrest Date/Time:   06/12/2018 1745
Book In Date/Time:  06/14/2018 1241
Book Out Date/Time: 06/15/2018 1733

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:           SOUTHWEST KEY - RIO GRANDE

Possible Trafficking?                                       Expresses Fear of Return?




JESICA H                                                                      Printed:      8/17/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   1745
06/12/2018
                       Book In                 RGC
   2135
06/13/2018
                   Welfare Check               RGC
   0351
06/13/2018
               Served meal(Accepted)           RGC                    Cold Meal
   0351
06/13/2018
                 UAC Video Shown               RGC
   0353
06/13/2018
                   Welfare Check               RGC                    ntr
   0918
06/13/2018
               Served meal(Accepted)           RGC                    Cold Meal
   0918
06/13/2018
                   Welfare Check               RGC
   1413
06/13/2018
               Served meal(Accepted)           RGC                    Cold Meal
   1413
06/13/2018
               FOJC and ORR Notified           RGC                    Transaction ID:
   1424
06/13/2018
                Processing Complete            RGC
   1428
06/13/2018
                   Welfare Check               RGC
   2025
06/13/2018
               Served meal(Accepted)           RGC                    Cold Meal
   2025
06/14/2018
                   Welfare Check               RGC
   0402
06/14/2018
               Served meal(Accepted)           RGC                    Cold Meal
   0402
06/14/2018
             Snacks, Milk, Juice Provided      RGC
   1000
06/14/2018
               Served meal(Accepted)           RGC                    Hot Meal
   1000
06/14/2018
                   Welfare Check               RGC
   1000
06/14/2018
                      In Transit               RGC
   1219
06/14/2018
                      Received                 RGV
   1241



JESICA H                                                                          Printed:      8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   1310
06/14/2018
                   Welfare Check              RGV
   1404
06/14/2018
              Bodily Cleansing Product        RGV
   1506
06/14/2018
               Dental Hygiene Product         RGV
   1506
06/14/2018
               Clean Clothing Provided        RGV
   1506
06/14/2018
                  Shower Provided             RGV
   1506
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   1507
06/14/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1507
06/14/2018
                   Welfare Check              RGV
   1507
06/14/2018
                   Welfare Check              RGV
   1517
06/14/2018
                   Welfare Check              RGV
   1602
06/14/2018
                   Welfare Check              RGV
   1611
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                 UAC Video Shown              RGV
   1712
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Telephone Used             RGV
   1945
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009


JESICA H                                                                         Printed:      8/17/18
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                                     #:24097




Subject Activity Log


MAYNOR H
                                      Gender:                M
                                      DOB:                         (13 yoa)
                                      Nationality:           HONDURAS
                                      Accompanying Adult(s):




                                      Event:
                                      A-File #:
                                      FINS #:
                                      Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/12/2018 1745
Book In Date/Time:  06/14/2018 1241
Book Out Date/Time: 06/15/2018 1733

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:           SOUTHWEST KEY - RIO GRANDE

Possible Trafficking?                                      Expresses Fear of Return?




MAYNOR H                                                                     Printed:      8/17/18
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Event:
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                                  #:24099
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                                  #:24100
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                                      #:24101




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/15/2018
                Welfare Check          RGV
   1600
06/15/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
06/15/2018
                Welfare Check          RGV
   1701
06/15/2018
              UAC Video Shown          RGV
   1711
06/15/2018
                Perm Book Out          RGV
   1733




MAYNOR H                                                                  Printed:      8/17/18
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Event:
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                                     #:24102




Subject Activity Log


SILVIA F
                                     Gender:                F
                                     DOB:                           33 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 1630
Book In Date/Time:  06/15/2018 0009
Book Out Date/Time: 06/16/2018 1358

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




SILVIA F                                                                    Printed:      8/8/18
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Event:
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                                      #:24103

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
06/12/2018
                    Arrest              N/A
   1630
06/12/2018
                   Book In              FLF
   1758
06/12/2018
                Welfare Check           FLF
   1909
06/12/2018
                Welfare Check           FLF
   2336
06/12/2018
             Served meal(Accepted)      FLF                    Cold Meal
   2336
06/13/2018
                Welfare Check           FLF
   0004
06/13/2018
                Welfare Check           FLF
   0201
06/13/2018
             Served meal(Accepted)      FLF                    Cold Meal
   0201
06/13/2018
                Welfare Check           FLF
   0502
06/13/2018
                Welfare Check           FLF
   0817
06/13/2018
                Welfare Check           FLF                    F285
   0925
06/13/2018
                Welfare Check           FLF
   0928
06/13/2018
             Served meal(Accepted)      FLF                    Cold Meal - sandwich
   0928
06/13/2018
                Welfare Check           FLF
   1029
06/13/2018
                Welfare Check           FLF
   1107
06/13/2018
                Welfare Check           FLF
   1300
06/13/2018
                Welfare Check           FLF
   1615
06/13/2018
             Served meal(Accepted)      FLF                    Cold Meal
   1615
06/14/2018
                Welfare Check           FLF
   0045
06/14/2018
             Served meal(Accepted)      FLF                    Cold Meal
   0045



SILVIA F                                                                   Printed:      8/8/18
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                                      #:24104




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/14/2018
                Welfare Check          FLF
   0130
06/14/2018
                Welfare Check          FLF
   0300
06/14/2018
                Welfare Check          FLF                    F298
   0630
06/14/2018
                Welfare Check          FLF                    f208
   0716
06/14/2018
                Welfare Check          FLF
   0752
06/14/2018
                Welfare Check          FLF                    f208
   0830
06/14/2018
                Welfare Check          FLF                    F208
   0920
06/14/2018
                Welfare Check          FLF
   0943
06/14/2018
                Welfare Check          FLF
   0946
06/14/2018
             Served meal(Accepted)     FLF                    Cold Meal
   0946
06/14/2018
                Welfare Check          FLF
   1044
06/14/2018
                Welfare Check          FLF
   1122
06/14/2018
                Welfare Check          FLF
   1315
06/14/2018
                Welfare Check          FLF
   1400
06/14/2018
                Welfare Check          FLF
   1415
06/14/2018
                Welfare Check          FLF
   1430
06/14/2018
                Welfare Check          FLF
   1445
06/14/2018
              Processing Complete      FLF
   1450
06/14/2018
                Welfare Check          FLF
   1500
06/14/2018
                Welfare Check          FLF
   1515
06/14/2018
                Welfare Check          FLF
   1530


SILVIA F                                                                  Printed:      8/8/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/14/2018
                Welfare Check          FLF
   1545
06/14/2018
                Welfare Check          FLF
   1600
06/14/2018
                Welfare Check          FLF
   1615
06/14/2018
                Welfare Check          FLF
   1630
06/14/2018
                Welfare Check          FLF
   1645
06/14/2018
                Welfare Check          FLF
   1700
06/14/2018
                Welfare Check          FLF
   1715
06/14/2018
                Welfare Check          FLF
   1730
06/14/2018
                Welfare Check          FLF
   1745
06/14/2018
                Welfare Check          FLF
   1800
06/14/2018
             Served meal(Accepted)     FLF                    Cold Meal
   1800
06/14/2018
                Welfare Check          FLF
   1830
06/14/2018
                Welfare Check          FLF
   1845
06/14/2018
                Welfare Check          FLF
   1900
06/14/2018
                Welfare Check          FLF
   1915
06/14/2018
                Welfare Check          FLF
   1930
06/14/2018
                Welfare Check          FLF
   1945
06/14/2018
                Welfare Check          FLF
   2000
06/14/2018
                Welfare Check          FLF
   2015
06/14/2018
                Welfare Check          FLF
   2030
06/14/2018
                   In Transit          FLF
   2213


SILVIA F                                                                  Printed:      8/8/18
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   Case 2:85-cv-04544-DMG-AGR Document 475-5 Filed 08/24/18 Page 207 of 250 Page ID
                                     #:24108




Subject Activity Log


KATHERINE E
                                     Gender:                F
                                     DOB:                           (16 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): SILVIA           F




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/12/2018 1630
Book In Date/Time:  06/13/2018 1541
Book Out Date/Time: 06/16/2018 1358

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




KATHERINE E                                                                  Printed:      8/8/18
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                                       Subject Activity Log


                                        Station /
Date/Time            Activity                       Agent Name                    Comments
                                        Facility
06/12/2018
                      Arrest              N/A
   1630
06/12/2018
                     Book In              FLF
   1759
06/12/2018
                  Welfare Check           FLF
   1909
06/12/2018
                  Welfare Check           FLF
   2245
06/12/2018
               Served meal(Accepted)      FLF                    Hot Meal
   2245
06/13/2018
                  Welfare Check           FLF
   0004
06/13/2018
              FOJC and ORR Notified       FLF                    Transaction ID:
   0009
06/13/2018
                  Welfare Check           FLF
   0201
06/13/2018
               Served meal(Accepted)      FLF                    Cold Meal
   0201
06/13/2018
                  Welfare Check           FLF
   0502
06/13/2018
                UAC Video Shown           FLF
   0537
06/13/2018
                Processing Complete       FLF
   0722
06/13/2018
                  Welfare Check           FLF
   0817
06/13/2018
              ORR Placement Received      FLF
   0827
06/13/2018
               Served meal(Accepted)      FLF                    Cold Meal - sandwich
   0827
06/13/2018
                  Welfare Check           FLF
   0827
06/13/2018
                  Welfare Check           FLF                    F285
   0925
06/13/2018
                  Welfare Check           FLF
   1029
06/13/2018
                  Welfare Check           FLF
   1107
06/13/2018
                     In Transit           FLF
   1224



KATHERINE E                                                                  Printed:      8/8/18
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                                      #:24111




                                      Station /
Date/Time           Activity                      Agent Name                    Comments
                                      Facility
06/14/2018
                 Welfare Check          RGV
   0001
06/14/2018
                 Welfare Check          RGV
   0100
06/14/2018
                 Welfare Check          RGV
   0200
06/14/2018
                 Welfare Check          RGV
   0303
06/14/2018
                 Welfare Check          RGV
   0306
06/14/2018
                 Welfare Check          RGV
   0401
06/14/2018
                 Welfare Check          RGV
   0501
06/14/2018
                 Welfare Check          RGV
   0733
06/14/2018
               UAC Video Shown          RGV
   0733
06/14/2018
              Served meal(Accepted)     RGV                    Hot Meal
   0733
06/14/2018
                 Welfare Check          RGV
   0801
06/14/2018
                 Welfare Check          RGV
   0905
06/14/2018
                 Welfare Check          RGV
   1012
06/14/2018
                 Welfare Check          RGV
   1100
06/14/2018
                 Welfare Check          RGV
   1221
06/14/2018
              Served meal(Accepted)     RGV                    Cold Meal
   1221
06/14/2018
                 Welfare Check          RGV
   1310
06/14/2018
                 Welfare Check          RGV
   1404
06/14/2018
                 Welfare Check          RGV
   1517
06/14/2018
                 Welfare Check          RGV
   1602
06/14/2018
                 Welfare Check          RGV
   1611


KATHERINE E                                                                Printed:      8/8/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                 UAC Video Shown              RGV
   1712
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Telephone Used             RGV
   1945
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                 UAC Video Shown              RGV
   0700
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0705
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800


KATHERINE E                                                                      Printed:      8/8/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                               Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   2045
06/12/2018
                       Book In                 MCS
   2347
06/13/2018
                    Welfare Check              MCS
   0451
06/13/2018
                Served meal(Accepted)          MCS                        Cold Meal - sandwich,juice
   0451
06/13/2018
                    Welfare Check              MCS
   0825
06/13/2018
                    Welfare Check              MCS
   0827
06/13/2018
                Served meal(Accepted)          MCS                        Cold Meal
   0827
06/13/2018
                    Welfare Check              MCS
   0922
06/13/2018
               FOJC and ORR Notified           MCS
   0947
06/13/2018                                                                all subjects appear to be in good health at
                    Welfare Check              MCS
   1048                                                                   this time.
06/13/2018
                      In Transit               MCS
   1525
06/13/2018
                      Received                 RGV
   1608
06/13/2018
               Bodily Cleansing Product        RGV
   1614
06/13/2018
               Clean Clothing Provided         RGV
   1614
06/13/2018
             Medical Screening Completed       RGV
   1614
06/13/2018
                Served meal(Accepted)          RGV                        Cold Meal
   1614
06/13/2018
                    Welfare Check              RGV
   1614
06/13/2018
                   Shower Provided             RGV                        showers will resume at 0700
   1614
06/13/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1614                Provided
06/13/2018                                               P
                    Welfare Check              RGV
   1622



KEVIN M                                                                               Printed:      8/17/18
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                                         Station /
Date/Time            Activity                        Agent Name                   Comments
                                         Facility
06/13/2018
                UAC Video Shown            RGV
   1710
06/13/2018
                  Welfare Check            RGV
   1805
06/13/2018
                  Welfare Check            RGV
   1816
06/13/2018
                  Welfare Check            RGV
   1911
06/13/2018
             Rejoined With Family Unit     RGV                    family visit for 15 minutes.
   1916
06/13/2018
                  Telephone Used           RGV
   1917
06/13/2018
                  Welfare Check            RGV
   1924
06/13/2018
                  Welfare Check            RGV
   2022
06/13/2018
                  Welfare Check            RGV
   2103
06/13/2018
                  Welfare Check            RGV
   2300
06/14/2018
                  Welfare Check            RGV
   0001
06/14/2018
                  Welfare Check            RGV
   0100
06/14/2018
                  Welfare Check            RGV
   0200
06/14/2018
                  Welfare Check            RGV
   0303
06/14/2018
                  Welfare Check            RGV
   0306
06/14/2018
                  Welfare Check            RGV
   0401
06/14/2018
                  Welfare Check            RGV
   0501
06/14/2018
                  Welfare Check            RGV
   0733
06/14/2018
                UAC Video Shown            RGV
   0733
06/14/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0733
06/14/2018
                  Welfare Check            RGV
   0801


KEVIN M                                                                      Printed:      8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   0905
06/14/2018
                   Welfare Check              RGV
   1012
06/14/2018
                Processing Complete           RGV
   1059
06/14/2018
                   Welfare Check              RGV
   1100
06/14/2018
                   Welfare Check              RGV
   1221
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1221
06/14/2018
                   Welfare Check              RGV
   1310
06/14/2018
                   Welfare Check              RGV
   1404
06/14/2018
                   Welfare Check              RGV
   1517
06/14/2018
                   Welfare Check              RGV
   1602
06/14/2018
                   Welfare Check              RGV
   1611
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                 UAC Video Shown              RGV
   1712
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Telephone Used             RGV
   1945
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111


KEVIN M                                                                          Printed:      8/17/18
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                                      Station /
Date/Time           Activity                      Agent Name                   Comments
                                      Facility
06/14/2018
                 Welfare Check          RGV
   2222
06/14/2018
                 Welfare Check          RGV
   2300
06/15/2018
                 Welfare Check          RGV
   0011
06/15/2018
                 Welfare Check          RGV
   0100
06/15/2018
                 Welfare Check          RGV
   0354
06/15/2018
                 Welfare Check          RGV
   0400
06/15/2018
                 Welfare Check          RGV
   0500
06/15/2018
               UAC Video Shown          RGV
   0700
06/15/2018
              Served meal(Accepted)     RGV                    Hot Meal
   0705
06/15/2018
                 Welfare Check          RGV
   0712
06/15/2018
                 Welfare Check          RGV
   0800
06/15/2018
                 Welfare Check          RGV
   1038
06/15/2018
                 Welfare Check          RGV
   1147
06/15/2018
                 Welfare Check          RGV
   1207
06/15/2018
              Served meal(Accepted)     RGV                    Hot Meal
   1207
06/15/2018
             ORR Placement Received     RGV                    BCFS Harlingen
   1215
06/15/2018
             ORR Placement Received     RGV                    BCFS Harlingen
   1310
06/15/2018
                 Welfare Check          RGV
   1318
06/15/2018
                 Welfare Check          RGV
   1400
06/15/2018
                 Perm Book Out          RGV
   1440




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   0030
06/14/2018
                       Book In                 MCS
   0213
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1820
06/14/2018
             Medical Screening Completed       MCS
   1820



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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0013
06/15/2018
                      Received                RGV
   0036
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0037                Provided
06/15/2018
             Medical Screening Completed      RGV
   0037
06/15/2018                                                           subjects will be offered a showered at
                        Other                 RGV
   0037                                                              0700hrs
06/15/2018
                    Welfare Check             RGV
   0037
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0037


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/15/2018
                Welfare Check          RGV
   2008
06/15/2018
                Welfare Check          RGV
   2105
06/15/2018
                Welfare Check          RGV
   2202
06/15/2018
                Welfare Check          RGV
   2300
06/16/2018
                Welfare Check          RGV
   0207
06/16/2018
                Welfare Check          RGV
   0302
06/16/2018
                Welfare Check          RGV
   0403
06/16/2018
                Welfare Check          RGV
   0523
06/16/2018
                Welfare Check          RGV
   0744
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   0744
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1249
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822


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                                        Station /
Date/Time           Activity                        Agent Name                    Comments
                                        Facility
06/17/2018
                  Welfare Check           RGV
   0903
06/17/2018
                  Welfare Check           RGV
   1004
06/17/2018
               Processing Complete        RGV
   1041
06/17/2018
                  Welfare Check           RGV
   1105
06/17/2018
                  Welfare Check           RGV
   1206
06/17/2018
                  Welfare Check           RGV
   1208
06/17/2018
              Served meal(Accepted)       RGV                    Hot Meal
   1208
06/17/2018
                  Welfare Check           RGV
   1305
06/17/2018
             Bodily Cleansing Product     RGV
   1402
06/17/2018
                  Welfare Check           RGV
   1402
06/17/2018
             Dental Hygiene Product       RGV
   1402
06/17/2018
             Clean Clothing Provided      RGV
   1402
06/17/2018
                Shower Provided           RGV
   1402
06/17/2018
                  Welfare Check           RGV
   1504
06/17/2018
                  Welfare Check           RGV
   1602
06/17/2018
                  Welfare Check           RGV
   1702
06/17/2018
                  Welfare Check           RGV
   1704
06/17/2018
              Served meal(Accepted)       RGV                    Cold Meal
   1704
06/17/2018
                  Welfare Check           RGV
   1922
06/17/2018
                  Welfare Check           RGV
   2000
06/17/2018
                  Welfare Check           RGV
   2120


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308
06/18/2018
                   Welfare Check              RGV
   0402
06/18/2018
                   Welfare Check              RGV
   0505
06/18/2018
                   Welfare Check              RGV
   0551
06/18/2018
                   Welfare Check              RGV
   0700
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
06/18/2018
                   Welfare Check              RGV
   0800
06/18/2018
                   Welfare Check              RGV
   0900
06/18/2018
                   Welfare Check              RGV
   1002
06/18/2018
                   Welfare Check              RGV
   1100
06/18/2018
                   Welfare Check              RGV
   1200
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1223
06/18/2018
                   Welfare Check              RGV
   1300
06/18/2018
                   Perm Book Out              RGV
   1312




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   0030
06/14/2018
                       Book In                 MCS
   0214
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1820
06/14/2018
             Medical Screening Completed       MCS
   1820



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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0013
06/15/2018
                      Received                RGV
   0036
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0037                Provided
06/15/2018
             Medical Screening Completed      RGV
   0037
06/15/2018                                                           subjects will be offered a showered at
                        Other                 RGV
   0037                                                              0700hrs
06/15/2018
                    Welfare Check             RGV
   0037
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   0037


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/15/2018
                Welfare Check          RGV
   0100
06/15/2018
                Welfare Check          RGV
   0354
06/15/2018
                Welfare Check          RGV
   0400
06/15/2018
                Welfare Check          RGV
   0500
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0700
06/15/2018
                Welfare Check          RGV
   0712
06/15/2018
                Welfare Check          RGV
   0800
06/15/2018
               Shower Provided         RGV
   0843
06/15/2018
                Welfare Check          RGV
   1038
06/15/2018
                Welfare Check          RGV
   1147
06/15/2018
                Welfare Check          RGV
   1207
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1207
06/15/2018
                Welfare Check          RGV
   1318
06/15/2018
                Welfare Check          RGV
   1400
06/15/2018
                Welfare Check          RGV
   1500
06/15/2018
                Welfare Check          RGV
   1538
06/15/2018
                Welfare Check          RGV
   1600
06/15/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
06/15/2018
                Welfare Check          RGV
   1701
06/15/2018
              UAC Video Shown          RGV
   1713
06/15/2018
                Welfare Check          RGV
   1800


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914
06/16/2018
                   Welfare Check              RGV
   1153
06/16/2018
                   Welfare Check              RGV
   1248
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   1248
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   1248


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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/16/2018
                  Welfare Check            RGV
   1319
06/16/2018
                  Welfare Check            RGV
   1404
06/16/2018
                  Welfare Check            RGV
   1458
06/16/2018
                  Welfare Check            RGV
   1557
06/16/2018
                  Welfare Check            RGV
   1658
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904
06/16/2018
                  Welfare Check            RGV
   2052
06/16/2018
                  Welfare Check            RGV
   2247
06/17/2018
                  Welfare Check            RGV
   0028
06/17/2018
                  Welfare Check            RGV
   0100
06/17/2018
                  Welfare Check            RGV
   0200
06/17/2018
                  Welfare Check            RGV
   0302
06/17/2018
                  Welfare Check            RGV
   0400
06/17/2018
                  Welfare Check            RGV
   0405
06/17/2018
                  Welfare Check            RGV
   0500
06/17/2018
                  Welfare Check            RGV
   0559
06/17/2018
                  Welfare Check            RGV
   0654
06/17/2018
                  Welfare Check            RGV
   0700


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                                        Station /
Date/Time           Activity                        Agent Name                    Comments
                                        Facility
06/17/2018
                  Welfare Check           RGV
   0736
06/17/2018
              Served meal(Accepted)       RGV                    Hot Meal
   0736
06/17/2018
             Bodily Cleansing Product     RGV
   0805
06/17/2018
             Dental Hygiene Product       RGV
   0805
06/17/2018
             Clean Clothing Provided      RGV
   0805
06/17/2018
                Shower Provided           RGV
   0805
06/17/2018
                  Welfare Check           RGV
   0822
06/17/2018
                  Welfare Check           RGV
   0903
06/17/2018
                  Welfare Check           RGV
   1004
06/17/2018
               Processing Complete        RGV
   1040
06/17/2018
                  Welfare Check           RGV
   1105
06/17/2018
                  Welfare Check           RGV
   1206
06/17/2018
                  Welfare Check           RGV
   1208
06/17/2018
              Served meal(Accepted)       RGV                    Hot Meal
   1208
06/17/2018
                  Welfare Check           RGV
   1305
06/17/2018
                  Welfare Check           RGV
   1402
06/17/2018
                  Welfare Check           RGV
   1504
06/17/2018
                  Welfare Check           RGV
   1602
06/17/2018
                  Welfare Check           RGV
   1702
06/17/2018
                  Welfare Check           RGV
   1704
06/17/2018
              Served meal(Accepted)       RGV                    Cold Meal
   1704


ANDRI A                                                                      Printed:      8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308
06/18/2018
                   Welfare Check              RGV
   0402
06/18/2018
                   Welfare Check              RGV
   0505
06/18/2018
                   Welfare Check              RGV
   0551
06/18/2018
                   Welfare Check              RGV
   0700
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
06/18/2018
                   Welfare Check              RGV
   0800
06/18/2018
                   Welfare Check              RGV
   0900
06/18/2018
                   Welfare Check              RGV
   1002
06/18/2018
                   Welfare Check              RGV
   1100
06/18/2018
                   Welfare Check              RGV
   1200
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1223


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                                  Station /
Date/Time         Activity                    Agent Name             Comments
                                  Facility
06/18/2018
                Welfare Check       RGV
   1300
06/18/2018
                Perm Book Out       RGV
   1312




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   1311
06/12/2018
                       Book In                 MCS
   1516
06/12/2018
                   Welfare Check               MCS
   1530
06/12/2018
                   Welfare Check               MCS
   1747
06/12/2018
                   Welfare Check               MCS
   1748
06/12/2018
               Served meal(Accepted)           MCS                    Cold Meal
   1748
06/12/2018
                   Welfare Check               MCS
   1837
06/12/2018
                   Welfare Check               MCS
   2002
06/12/2018
                   Welfare Check               MCS
   2143
06/12/2018
                   Welfare Check               MCS
   2215
06/12/2018
               Served meal(Accepted)           MCS                    Cold Meal
   2215
06/12/2018
                   Welfare Check               MCS
   2242
06/13/2018
                      In Transit               MCS
   0201
06/13/2018
                      Received                 RGV
   0202
06/13/2018
                   Welfare Check               RGV
   0215
06/13/2018
                   Welfare Check               RGV
   0315
06/13/2018
                   Welfare Check               RGV
   0424
06/13/2018
                   Welfare Check               RGV
   0506
06/13/2018
                   Welfare Check               RGV
   0700
06/13/2018
             Snacks, Milk, Juice Provided      RGV
   0730



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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/13/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0730
06/13/2018
                Welfare Check          RGV
   0730
06/13/2018
                Welfare Check          RGV
   0805
06/13/2018
                Welfare Check          RGV
   0904
06/13/2018
                Welfare Check          RGV
   1001
06/13/2018
                Welfare Check          RGV
   1101
06/13/2018
                Welfare Check          RGV
   1159
06/13/2018
                Welfare Check          RGV
   1259
06/13/2018
                Welfare Check          RGV
   1357
06/13/2018
              Processing Complete      RGV
   1400
06/13/2018
                Welfare Check          RGV
   1526
06/13/2018
                Welfare Check          RGV
   1609
06/13/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1609
06/13/2018
                Welfare Check          RGV
   1613
06/13/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1613
06/13/2018
                Welfare Check          RGV
   1622
06/13/2018
                Welfare Check          RGV
   1805
06/13/2018
                Welfare Check          RGV
   1816
06/13/2018
                Welfare Check          RGV
   1911
06/13/2018
                Welfare Check          RGV
   1924
06/13/2018
                Welfare Check          RGV
   2022


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/13/2018
                Welfare Check          RGV
   2103
06/13/2018
                Welfare Check          RGV
   2300
06/14/2018
                Welfare Check          RGV
   0001
06/14/2018
                Welfare Check          RGV
   0100
06/14/2018
                Welfare Check          RGV
   0200
06/14/2018
                Welfare Check          RGV
   0303
06/14/2018
                Welfare Check          RGV
   0306
06/14/2018
                Welfare Check          RGV
   0401
06/14/2018
                Welfare Check          RGV
   0501
06/14/2018
                Welfare Check          RGV
   0733
06/14/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0733
06/14/2018
                Welfare Check          RGV
   0801
06/14/2018
                Welfare Check          RGV
   0905
06/14/2018
                Welfare Check          RGV
   1012
06/14/2018
                Welfare Check          RGV
   1100
06/14/2018
                Welfare Check          RGV
   1221
06/14/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1221
06/14/2018
                Welfare Check          RGV
   1310
06/14/2018
                Welfare Check          RGV
   1404
06/14/2018
                Welfare Check          RGV
   1517
06/14/2018
                Welfare Check          RGV
   1602


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   1611
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0744


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   0744
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1249
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Perm Book Out          RGV
   1307




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   1311
06/12/2018
                       Book In                 MCS
   1517
06/12/2018
                    Welfare Check              MCS
   1530
06/12/2018
                    Welfare Check              MCS
   1747
06/12/2018
                    Welfare Check              MCS
   1748
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1748
06/12/2018
                    Welfare Check              MCS
   1837
06/12/2018
                    Welfare Check              MCS
   2002
06/12/2018
                    Welfare Check              MCS
   2143
06/12/2018
                    Welfare Check              MCS
   2215
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal
   2215
06/12/2018
               FOJC and ORR Notified           MCS
   2223
06/12/2018
                    Welfare Check              MCS
   2242
06/13/2018
                      In Transit               MCS
   0201
06/13/2018
                      Received                 RGV
   0207
06/13/2018
                    Welfare Check              RGV
   0215
06/13/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0216                Provided
06/13/2018
                 UAC Video Shown               RGV
   0216
06/13/2018
             Medical Screening Completed       RGV
   0216
06/13/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0216



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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/13/2018
                   Welfare Check              RGV
   0216
06/13/2018
             Snacks, Milk, Juice Provided     RGV
   0216
                                                                     Detainee could not be showered at this time
06/13/2018                                                           since time of arrival did not fall with in the
                  Shower Provided             RGV
   0216                                                              providers hours of operations. Detainee
                                                                     will be showered once operation resumes.
06/13/2018
                   Welfare Check              RGV
   0315
06/13/2018
                   Welfare Check              RGV
   0424
06/13/2018
                   Welfare Check              RGV
   0506
06/13/2018
                   Welfare Check              RGV
   0700
06/13/2018
                  Shower Provided             RGV
   0709
06/13/2018
             Snacks, Milk, Juice Provided     RGV
   0728
06/13/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0728
06/13/2018
                   Welfare Check              RGV
   0728
06/13/2018
                 UAC Video Shown              RGV
   0731
06/13/2018
                   Welfare Check              RGV
   0805
06/13/2018
                   Welfare Check              RGV
   0904
06/13/2018
                   Welfare Check              RGV
   1001
06/13/2018
                   Welfare Check              RGV
   1101
06/13/2018
                   Welfare Check              RGV
   1159
06/13/2018
                   Welfare Check              RGV
   1205
06/13/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1205
06/13/2018                                                           Minor was shown the Know what to expect
                 UAC Video Shown              RGV
   1213                                                              Video.


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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/13/2018
                  Welfare Check            RGV
   1259
06/13/2018
                  Welfare Check            RGV
   1357
06/13/2018
                  Welfare Check            RGV
   1526
06/13/2018
                  Welfare Check            RGV
   1614
06/13/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1614
06/13/2018
                  Welfare Check            RGV
   1622
06/13/2018
                  Welfare Check            RGV
   1805
06/13/2018
                  Welfare Check            RGV
   1816
06/13/2018
                  Welfare Check            RGV
   1911
06/13/2018
             Rejoined With Family Unit     RGV                    family visit for 15 minutes.
   1916
06/13/2018
                  Telephone Used           RGV
   1917
06/13/2018
                  Welfare Check            RGV
   1924
06/13/2018
                  Welfare Check            RGV
   2022
06/13/2018
                  Welfare Check            RGV
   2103
06/13/2018
                  Welfare Check            RGV
   2300
06/13/2018
             ORR Placement Received        RGV                    Catholic Guardian Services TFC
   2306
06/14/2018
                  Welfare Check            RGV
   0001
06/14/2018
                  Welfare Check            RGV
   0100
06/14/2018
                  Welfare Check            RGV
   0200
06/14/2018
                  Welfare Check            RGV
   0303
06/14/2018
                  Welfare Check            RGV
   0306


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/14/2018
                Welfare Check          RGV
   0401
06/14/2018
                Welfare Check          RGV
   0501
06/14/2018
                Welfare Check          RGV
   0733
06/14/2018
              UAC Video Shown          RGV
   0733
06/14/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0733
06/14/2018
                Welfare Check          RGV
   0801
06/14/2018
                Welfare Check          RGV
   0905
06/14/2018
                Welfare Check          RGV
   1012
06/14/2018
              Processing Complete      RGV
   1044
06/14/2018
                Welfare Check          RGV
   1100
06/14/2018
                Welfare Check          RGV
   1221
06/14/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1221
06/14/2018
                Welfare Check          RGV
   1310
06/14/2018
                Welfare Check          RGV
   1404
06/14/2018
                Welfare Check          RGV
   1517
06/14/2018
                Welfare Check          RGV
   1602
06/14/2018
                Welfare Check          RGV
   1611
06/14/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1611
06/14/2018
                Welfare Check          RGV
   1701
06/14/2018
              UAC Video Shown          RGV
   1712
06/14/2018
                Welfare Check          RGV
   1813


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Telephone Used             RGV
   1945
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                 UAC Video Shown              RGV
   0700
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0705
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
                   Telephone Used             RGV
   1902
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0742
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Perm Book Out          RGV
   0844
06/16/2018
                   Book In             RGV
   0923
06/16/2018
                Perm Book Out          RGV
   0927




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